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EXHIBIT A
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© Appendix A: Qualifications

e Jeffrey S. Andrilenas C.V.
e Paul Scian C.V.
e RACER Training Certificates

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JEFFREY S. ANDRILENAS, EVP, RG, LHG, LEG
TBLS ENVIRONMENTAL ADVISORY LEAD

 

Mr. Andrilenas has performed services for over 3,000 environmental sites, both as a consultant to some of the
world's largest industrial clients and as an in-house environmental specialist for two Fortune 100 companies (BP
Oil and AIG). At AIG, Mr. Andrilenas was a senior consultant in the Cost Cap group using RACER® and other
sophisticated cost estimating and financial models to analyze and predict both financial and environmental risks
relating to CERCLA and RCRA sites. In 2002, he received AIG’s worldwide “Distinguished Service Award” as
best internal consultant for his technical environmental assistance to Underwriting and Claims. His experience
Spans 35 years, including 13 years in progressive project management, business development and corporate
growth management roles at AMEC Foster Wheeler, the eleventh largest environmental company in the world.
He also worked at Golder Associates, the twelfth largest engineering company in the world. In 2007, he co-
founded Bluefield Holdings, Inc. (the first U.S. NRDA credit bank) using venture capital and private equity
financing (Bluefield Holdings is now majority-owned by a large pension fund and investment advisory firm). In
2012, Mr. Andrilenas joined The TBLS Group LLC, a New Jersey Corporation, as a Vice President becoming
Executive Vice President/Shareholder in 2016. Throughout his career, Mr. Andrilenas has worked in both
domestic U.S. and international settings. He has authored numerous scientific papers on environmental
remediation, environmental investigation and NRDA. He has been called upon as an expert witness in many
environmental liability court cases.

FIELDS OF EXPERTISE

« Remediation (Upland & Sediment)
* Environmental Liability Valuation / M&A Transactional Due Diligence
* Natural Resource Damages (NRDA)

REGISTRATIONS AND CERTIFICATIONS

Registered Geologist: Oregon (1988-2017), Washington (2002-2017)
Registered Hydrogeologist: Washington (2002-2017)

Registered Engineering Geologist: Washington (2002-2017)

48 HR HAZWOPR 1985-2017

Certified NJDEP Environmental Compliance Auditor, 2014-2015

ISO 9001 Auditor

EDUCATION
B.Sc. Geological Sciences, University of Washington (1982)

PROFESSIONAL EMPLOYMENT HISTORY
The TBLS Group, LLC, New Jersey (3/13 — Present), Executive Vice President

Mr. Andrilenas is the environmental lead for this Environmental and Sustainability Advisory, which was founded
in 2009. He specializes primarily in environmental valuation services for the Merger & Acquisition (M&A)
industry. Services include environmental due diligence and expert environmental valuation using complex
enviro-financial modeling and financial risk-estimating tools. TBLS also performs environmental work for a
variety of legal, real estate, financial and corporate clients. Notable projects include:

e 2013 ~— Technical evaluation and environmental valuation for a $150 million remediation project on behalf of
a hedge fund advised by AON Risk Solutions, to be set up in a USEPA Trust/buyout for six major oil
companies (Hartford, Illinois). Served as an independent valuation consultant using RACER® to determine

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reasonable “most likely’ scenario where the government had estimated “reasonable pessimistic” scenario
and industry had determined “reasonable optimistic” scenario.

e 2014 - Evaluation of Phase | & II ESAs for real estate portfolio acquisition for a major franchisee client of an
M&A law firm (Kauffman Gilden Robbins & Oppenheimer).

e 2016 — Phase I ESA, environmental liability valuation and development studies for confidential private
equity group seeking to purchase a twelve-acre brownfield site in Newark, New Jersey. Included evaluation
of potential sediment and NRD liability.

* 2016 — Confidential client NRD liability valuation, insurance carrier settlement assistance consultant for 4”
largest oil spill in US history. (Pillsbury Winthrop)

* 2015 — Environmental due diligence and environmental liability valuation using 10-K Reports and RACER®
for divestiture/acquisition of a relict 40-acre battery-recycling facility in Florida. Included negotiation support
of private equity buyer and investment banker.

e 2015 — Bankruptcy environmental liability valuation studies and environmental transactional due diligence
for a multi-million dollar acquisition by a confidential private equity group. Environmental liabilities
(collectively) exceeded $160 million. Served in direct negotiations on behalf of client with corporate
management, investment bankers and their respective outside counsel and consultants. Project locations
spanned 15 states as well as overseas locations in four countries in Europe and in India.

e 2015 — M&A transactional due-diligence for confidential private equity firm acquiring pharmaceutical facility
in Puerto Rico. Included insurance “known/unknown’ environmental study to bind a $30 million Pollution
Legal Liability policy. Provided assistance for environmental structuring to M&A attomeys.

e 2015 — Divestiture studies for $200 million federal Superfund environmental liability involving property
acquisition and sale/leaseback by confidential private equity group of century-old industrial and
manufacturing facility.

e 2015 — Business divestiture environmental due diligence and environmental liability valuation studies for a
coal-fired utility power plant seeking to convert to renewable energy source. Performed for confidential
buyer/private equity group.

e 2015-2016 — Technical review, environmental liability valuation and environmental liability transfer services
for confidential divestiture of electronic manufacturing plant from a publicly traded Fortune 1000 company
as part of national brownfield developer/private equity team. Site was impacted with PCBs and chlorinated
solvents, including discharge to a waterway.

e 2016 — Environmental technical review, environmental liability valuations and reserve calculations for
environmental liability transfer of several DNAPL-impacted manufacturing site cleanups from a Fortune
1000 fo a confidential multi-billion dollar private equity group. Project involved extensive file reviews,
evaluation of cleanup costs and cost over time analyses including internal cost of capital, inflation, and net
present value over a 30 year cleanup term. Also involved risk analysis for Bodily injury claims for site
vicinity properties, toxic tort risks and potential groundwater and surface water NRD liabilities.

Bluefield Holdings, Inc., New Jersey (3/07 — 3/12), Executive Vice President

Mr. Andrilenas was Executive Vice President and co-founder of Bluefield Holdings, Inc. and of Bluefield's Rain
Harvest Bank, an alternative groundwater NRDA settlement vehicle created by harvesting storm water from
large logistics roofs and returning it to non-potable beneficial reuse, aquifer storage and recycling under a
banking agreement granted by the NUDEP in 2009. Bluefield, a $12 million venture capital and mezzanine-
funded start-up, was purchased in 2010. It is now majority-owned by MIO Partners, a New York-based $6 billion
international pension fund and investment advisory firm. Mr. Andrilenas’ work included the following:

e Retained and led a team of expert consultants (including the State of New Jersey’s NRD Consultant,
Industrial Economics) to develop watershed metric and environmental credit valuation for recycled water by
designing a large GIS/NRDA Groundwater/Restoration and financial valuation model captured in report

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entitled “Valuation of Rainwater Harvesting as a Groundwater Natural Resource Restoration.” The project
culminated in receiving the first NRD Banking Agreement in New Jersey from the NJDEP in 2009.

e Developed innovative retrofitting methods for existing warehouse properties to capture rain water and treat
water to drinking-water standards. Monetized valuation in an enviro/financial security product suitable for
exchange for NRDA liability created by rain harvesting.

« Developed and implemented strategy to acquire reuse water rights with respect to over 108 facilities
(approximately 700 acres) of logistics warehouses from one of the largest REITs (Prologis) in the U.S. (a
first in the United States). Managed environmental due diligence review studies for industrial warehouse
locations in New Jersey.

e Managed over 25 vendors and six staff (financial, legal, sales and engineering).

e Conceptualized and managed the start-up, including negotiations with NRD Trustee Councils, of Bluefield’s
NRDA Credit banks for Portland Harbor Sediment Superfund Site (Portland, Oregon) and Lower
Duwamish/Harbor Island Sediment Superfund Site (Seattle, Washington).

« Evaluated and prepared pro forma for NRDA Restoration Bank on the Passaic River and evaluated
property for a potential NRDA Restoration Bank on the Delaware River (these projects did not advance
beyond the conceptual stage).

e Of Bluefield’s NRDA Banks, the Lower Duwamish/Harbor Island Habitat NRDA bank continues to operate,
having sold out its first project. This NRDA bank is now selling credits in its second project under the first
NRD Trustee Council/Dept. of Justice-approved NRDA banking agreement in the United States.

Premier Environmental (now EarthCon Consulting Group), Seattle (1/05 — 3/07), Senior
Environmental Consultant

Mr. Andrilenas performed environmental remediation, NRD restoration planning and environmentail/risk
management consulting (including expert litigation support work) for a variety of M&A projects, property
transactions, insurance claims, Superfund projects, mining locations and brownfield redevelopment projects in
New Jersey, Washington, Oregon, North Carolina, California, Georgia, Texas, Louisiana and Montana. Notable
projects included the following:

e Preliminary NRDA Banking Restoration Evaluation, Barksdale Air Force Base, Louisiana.
« Preliminary NRDA Banking Restoration Evaluation, Ashtabula River, Ohio.

e NRDA/Restoration HEA Evaluations for Lower Duwamish Habitat Corridor Project — Performed in
collaboration with the Port of Seattle and the City of Seattle as restoration site landowners.

e NRDA Restoration Bank, Sabine River Basin, Texas — Evaluation using buffer real estate and
preliminary studies (including conceptual presentation to U.S. Fish & Wildlife, NOAA and Texas State
Trustees) for Bridgestone/Firestone Corporation of Orange Texas. Project envisioned a 300-acre mima
mound and marsh restoration project for potential settlement of NRD claims.

¢ $6.9 billion Valero/Premcor Refineries M&A — Managed and conducted environmental liability valuations
for twelve refineries in ten states.

e $3 billion Valero/Buckeye Pipeline M&A — Managed and conducted environmental liability valuations for
the buyer for 20 pipeline terminals and associated pipelines in nine states.

« Renova Brownfields Developer — NRDA and remediation environmental liability valuations following
ASTM methods in Washington, Oregon and Califomia. Included an evaluation of NRD risk related to the
Quendall Terminals site in Renton, Washington.

e Milltown Dam, Montana, Claims Management — Support for AIG Technical Services (AIG Claims).

e Environmental Underwriting Support — Various consulting projects for environmental underwriting due
diligence support for ACE Insurance and AIG Environmental under Master Service Agreements for
accounts in the Pacific Northwest.

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e Litigation Support — Litigation support for various law firms in the Pacific Northwest.

© AIG Consultants, Environmental Management Division, Seattle (3/99 — 1/05), Product Line
Consultant, Professional Geologist

Mr. Andrilenas worked for American International Group (AIG Environmental/Chartis) as an intemal
environmental remediation specialist focusing on cost-cap matters and as the lead NRDA/sediment remediation
specialist at AIG Consultants. As part of these duties, Mr. Andrilenas reviewed sediment and NRDA projects as
part of the firm's internal Quality Assurance/Quality Control review panel while also serving as an [SO 9001
auditor for prospects being considered for underwriting for environmental cost-cap and pollution legal liability
policies.

Mr. Andrilenas was one of two regional dedicated engineers serving environmental underwriters and claims
functions in Northern California, Oregon, Washington, Idaho, Alaska and Montana. Mr. Andrilenas was also a
senior member of the cost-cap group supporting AIG Environmental for predicting environmental liability costs
using financial and statistical tools to predict future costs of remediation on a variety of cleanup sites. He also
conducted environmental due diligence for new policies, loss prevention for existing policies, and claims. For
many environmental liability valuations, Mr. Andrilenas routinely set up Monte Carlo analyses of the “reasonable
optimistic’, “reasonable most likely” and “reasonable pessimist’ cost projections of future remediation costs (in
general accordance with ASTM E-2137, Estimating Environmental Liabilities). He managed environmental due
diligence consultant teams to predict future costs and liabilities, and developed RACER® Cost Modeling
Analyses as required by internal AIG environmental policy underwriting protocols.

Notable environmental liability valuations for cost-cap, loss-prevention and insurance claim projects included the
following:

e Bellingham Bay Sediment Cleanup Site — Performed environmental and financial risk profile analyses as
part of environmental cost-cap underwriting of the Port of Bellingham/Georgia Pacific liability buyout and
remediation cost cap placement, including 16 Operable Units (OUs). NRDA was initially evaluated during

© due diligence but was excluded from coverage based on the preliminary status of the NRD assessment.

« Williams Energy/Tesoro Alaska M&A Due Diligence — Served as insurance representative for AIG
Environmental on the M&A team representing the buyer of 18 marine, pipeline and rail oil terminals in
Alaska and Yukon Territory. Conducted extensive due diligence, file review and site inspections and audits
during winter in Arctic weather conditions.

e Lower Duwamish/Harbor Island/Elliot Bay Sediment Superfund Site, Seattle, Washington —
Performed environmental and financial risk profile analyses as part of environmental cost-cap underwriting
of four CERCLA OUs, including East Waterway; Lockheed Shipyards; Todd Shipyards; and West
Waterway. Conducted environmental valuation and environmental policy auditing for the Port of Seattle,
including for the SeaTac International Airport. All of these projects involved some amount of NRDA
evaluation using Habitat Equivalency Analysis (HEA) as well as sediment remediation financial valuations
as part of underwriting due diligence support activities. Assisted AIG Technical Services in managing the
Todd Shipyard claims under the applicable cost-cap policy.

e Martin Marietta Aluminum/Federal Superfund Sites (Goldendale, Washington and The Dalles,
Oregon) — Conducted environmental/financial risk profile analyses as part of environmental cost-cap
underwriting of these two federal Superfund sites on the Columbia River in Washington and Oregon. The
work included evaluation of NRD risk using Habitat Equivalency Analyses (HEA). As a result of such
analyses, NRD was excluded from subsequent coverage.

e Portland Harbor Sediment Superfund Site, Portland, Oregon — Performed environmental and financial
risk profile analyses as part of environmental cost-cap underwriting of the Portland Harbor CERCLA
Sediment Superfund Site in Oregon for the Port of Portland. Related work in connection with other AIG
activities included auditing environmental practices of the Port of Portland and at Portland International
Airport as part of insurance renewals.

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e Fox River Sediment Superfund Site — Conducted peer review of environmental and financial risk profile
analyses performed as part of environmental cost-cap underwriting of the Appleton Paper settlement,
including evaluation of NRD risk.

e Passaic River Sediment Superfund Site, New Jersey — Performed peer review of environmental and
financial risk profile analyses forming the basis for environmental cost-cap underwriting of the Diamond
Alkali Operable Unit (OU) of the Passaic River Sediment Superfund Site, including assessment of NRD risk
as part of an accompanying Pollution Legal Liability policy underwriting.

e Anaconda Superfund Site, Montana — Conducted environmental and financial risk profile analyses as
part of environmental cost-cap underwriting in connection with the Butte Priority Soils OU in Montana,
including an evaluation of NRD risk. The environmental liability valuation involved the largest sediment
remediation in the United States at that time, which was the Milltown Dam Operable Unit of the Anaconda
Superfund Site (over 2 million cubic yards to be removed). Evaluated NRD risk using Habitat Equivalency
Analyses (HEA). As a result of such analyses, NRD was excluded from coverage. Provided subsequent
claims management assistance under bound policy.

« Commencement Bay Sediment Superfund Sites, Tacoma, Washington — Conducted and managed
environmental and financial risk profile analyses using @RISK as part of environmental cost-cap
underwriting of six CERCLA OUs at the Commencement Bay Superfund Site, including the Thea Foss OU;
Head of Thea Foss OU; ASARCO OU; Hylebos OU; Head of Hylebos OU; and the Middle Waterway OU.
As part of these evaluations, assessed NRD risk using Habitat Equivalency Analyses for AIG underwriting
purposes on Pollution Legal Liability policies for the ASARCO OU, Middle Waterway OU and Head of Thea
Foss OU.

e Pasco Landfill Superfund Site, Pasco, Washington — Performed environmental risk profile, built 120-
node decision tree modeling and conducted financial analyses for in-situ DNAPL cleanup at the Pasco
Landfill CERCLA site as part of environmental cost-cap and environmental liability policy underwriting.

e IT Landfills, Bay Area, California — Conducted technical claims assistance and environmental cost-cap
policy risk profile environmental valuation relating to eight hazardous waste landfills in Closure/Post-Closure
status in California.

e Habitat Corridor/Lower Duwamish NRD Bank, Seattle, Washington — Conducted extensive one-on-one
negotiations for AIG, including negotiations of HEA methodologies, for valuation including scaling factors
and restoration designs under a cooperative agreement under which AIG assembled one of the first
Geographic Information System (GIS)-based HEA evaluations for NRDA restoration. The project was a
public-private partnership among AIG, the Lower Duwamish/Elliot Bay NRD Trustees, the Port of Seattle,
King County and the City of Seattle. During this project, Mr. Andrilenas worked directly for the General
Counsel of AIG Environmental and AIG's outside NRD counsel, Squire Patton Boggs. Mr. Andrilenas and
another AIG employee conducted the negotiations at the staff and upper agency management levels, which
included development of restoration multipliers that were peer-reviewed and agreed to by an academic
panel.

The Habitat Corridor Project involved a public-private partnership among AIG, NOAA DARRP, U.S. Fish &
Wildlife, the Muckleshoot Tribe, the Suquamish Tribe, the Washington Department of Ecology, the
Washington Department of Land, the Washington Department of Fish & Wildlife and the Port of Seattle.
The project was financially modeled on an extensive basis for environmental liability, environmental
remediation cost and restoration value, including detailed bid management for estimating construction and
cleanup costs and cash flow analysis. The project was the precursor for the Bluefield Holdings Duwamish
Project.

e Adak Island BRAC Environmental Liability Valuation —- Managed technical team that created a 32-
megabyte cost analysis and developed Monte Cario analysis (using @Risk and remediation cash flow
scenarios) for 65 Superfund sites, 39 landfills, seven sediment cleanup sites, 450 other petroleum and
hazardous waste sites and over 500 Unexploded Ordnance (UXO) sites. Managed a team of due diligence
consultants that conducted Phase | ESA audits, including demolition studies (lead-based paint and
asbestos mitigation). Created the Phase {| ESA design and subsequent “optimistic”, “most likely” and
“pessimistic” scenarios for the Monte Carlo model of future environmental costs. Worked with local and

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national brokerage firms, underwriters, tribal and outside counsel and a Tribal Council to develop a cost
estimate that was used by the Aleut Corporation as the basis for detailed financial negotiations with the U.S.
Navy ($250 million), which included U.S. Congressional review. The entire due diligence process cost over
$500,000 and represented one of the largest due-diligence efforts for a single prospect account ever
conducted by AIG Consultants (Environmental Management Division) on behalf of AiG Environmental.

¢ Great Western Chemical State Superfund Site — Performed an innovative finite insurance buyout of an
ACE Commercial General Liability policy. Managed competitive engineering bid proceedings for
remediation of the Great Western Chemical State Superfund site in Seattle.

¢ Environmental Compliance Audit Team — Managed and conducted facility and corporate environmental
audits for over 150 companies (many with multiple plant locations). Performed loss prevention audits and
due diligence surveys for hundreds of facilities in Northern California, Oregon, Idaho, Montana and Alaska
seeking environmental insurance products or renewals of existing environmental insurance products.

* Cooperative Assessment Pilot Program (CAP) — Represented AIG from 2001 to 2005 on the National
Cooperative Assessment Pilot Project (CAP) sponsored by NOAA, which involved a variety of major
industry partners (Chevron, GM, Shell, Alcoa, etc.) and several NRDA Trustee agencies including six State
Trustees, NOAA, U.S. Fish & Wildlife, U.S. Department of Agriculture (U.S. Forestry Service), U.S.
Department of Defense, U.S. Department of the Treasury (U.S. Coast Guard), and the USEPA (which
attended but was not a Trustee), as well as numerous State Trustees and Tribal Trustees from around the
U.S. The “CAP” group was the stakeholder group that formulated what is now known as Cooperative
Assessment in NRD assessments of injury.

¢ Governor's Panel — Mr. Andrilenas represented the insurance industry on the Washington State
Governor's Stakeholder Panel for Area-wide Lead & Arsenic in Soil. The panel was convened as a public,
state and industry body to examine the long-term effects and consequences of smelter air emissions and
orchard pesticides on Washington State.

e Awards — Mr. Andrilenas won numerous awards from AIG for his services during his tenure (see “Awards
and Recognition” below).

ADaPT Engineering (BP Oil Contract Employee), Seattle, Washington (12/97 — 1/99) — Vice
President

Mr. Andrilenas served as a remediation specialist and independent contract employee in BP Oil's internal EHS
group during 1997 to 1999. Mr. Andrilenas performed this work through a national third-party contracting firm
(ADaPT Engineering), serving also as a Vice President of Remediation at the firm. His achievements included
the following:

e Environmental Management — As part of a four-person team, Mr. Andrilenas provided environmental
management for approximately 800 downstream terminal, retail, chemical, and pipeline facilities. These
were part of a portfolio that BP divested and sold to Tosco (now Conoco Philips) in Northern California,
Oregon and Washington State. Mr. Andrilenas’ primary duty was to administratively close (by obtaining
NFA or No Further Action indications), as cost-effectively as possible, approximately 350 active remediation
sites in the divested portfolio. The team closed over 100 (or about one third) of the known impacted sites via
NFAs in little over a year.

* Brownfields — Mr. Andrilenas worked for a number of Brownfield developers, assisting in the design and
implementation of remediation. These included three Brownfield redevelopment sites for Silver Cloud Inns
(Edmonds, Tacoma, and Lake Union), which involved a variety of remediation systems including evaluating
the efficacy of a zero-valence iron wall. Mr. Andrilenas also worked on Phase | and Phase Ii ESAs and
remediations for five Brownfield redevelopment projects in Oregon, two of which were named in the
USEPA’s Showcase of Brownfield projects. Mr. Andritenas provided remediation design project
management for several Truckstops of America and other major transportation/trucking companies’ facilities
across the U.S.

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e Peer Reviews — Mr. Andrilenas provided expert environmental “peer review” opinions with respect to
environmental due diligence for the commercial lending divisions of five major financial institutions
(Keycorp, Wells Fargo, Washington Mutual (now JPMorgan Chase), US Bancorp and Bank of America).
His duties included reviewing Phase | ESAs prepared by other firms and determining sufficiency in
accordance with ASTM standards.

e Litigation Support — Mr. Andrilenas provided litigation support relating to environmental remediation issues
involving foreclosed properties and trust properties for major financial institutions, including Keycorp, Wells
Fargo, Washington Mutual (now JPMorgan Chase), US Bancorp and Bank of America. Mr. Andrilenas also
fulfilled a number of litigation support functions and acted as an expert witness for a variety of coverage law
firms and insurance companies (including CNA, Safeco, Unigard, AESIC, and others) litigating
environmental coverage issues under “old” occurrence-based Property & Casualty policies.

AGRA Earth & Environmental (now AMEC), Phoenix, Arizona (2/94 — 11/97) — Senior Project
Manager, Professional Geologist

For AMEC Earth & Environmental, Mr. Andrilenas was Principal Geologist, Technical Principal for
Environmental Remediation for North America and Regional Environmental Manager for the Southwest U.S.
Region (including Arizona, Colorado, Nevada, Utah, New Mexico, Texas and Mexico). He provided technical
assistance, corporate oversight and management for projects in Mexico, Brazil, the Republic of China and the
Peoples Republic of China, India and Canada, as well as in 29 U.S. states.

e Central and South America — Notable projects in Central and South America included the following:

e Remedial Investigation/Feasibility Study (RI/FS)-equivalent studies as part of the divestiture of a
Univex/Hoechst Celanese nylon manufacturing facility in Salamanca, Mexico.

e Remediation studies relating to a multi-million gallon release of petroleum in Guadalajara, Mexico for
Ferrocarriles Nacionales de México (FNM), the Federal Mexican Railroad.

e Site Investigation (SI) and RI/FS-equivalent studies for General Motors brake-lining plants in Mexico
and Brazil.

e RI/FS-equivalent studies for a Reichhold Chemical phenol plant in Mexico.

e World Bank Contract -— Under a two-year World Bank contract, Mr. Andrilenas provided expert
environmental remediation assistance to the Republic of China’s Research Institute (ITRI) and the Chinese
Petroleum Company. This work included the first bioremediation performed in China (ROC), at the
Kaohsiung Refinery/Marine Terminal. According to a sworn attestation of AGRA’s President furnished to
the Chinese government and the World Bank (available for review), as of the end of 1993 Mr. Andrilenas
had worked on over 250 environmental remediations and 750 environmental projects.

e Phase | ESAs for Factory Siting — Mr. Andrilenas also managed several Phase | ESAs for factory siting in
the People’s Republic of China and in India for a variety of multinational corporations. These services were
part of corporate Master Service Agreement contract expansions overseas that used local AMEC offices.

e Phase | and Phase Ii ESAs — Mr. Andrilenas managed 69 Phase I! investigations and remediation projects
for Goodyear in the Western States portfolio, including a major DNAPL project at the Goodyear Airport in
Phoenix, Arizona. Mr. Andrilenas oversaw a variety of Phase II and remediation projects throughout his
region and elsewhere in the U.S., including a variety of portfolio Phase | & Phase II ESAs relating to M&A
activities.

e Management under MSAs — Mr. Andrilenas negotiated and managed contracts for over $20 million of
Master Service Agreements and yearly contracts for large corporations such as Hertz, Goodyear, Ford,
General Motors, Motorola, General Electric, Hoechst Celanese, Chinese Petroleum Company, BP Oil,
Conoco Phillips, FNM, Whirlpool, Pfizer, American Brands, BNSF and Phelps Dodge.

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RZA AGRA (now AMEC), Portland, Oregon (3/83 — 2/94) — Remediation Profit Center Manager

Mr. Andrilenas served as Staff, Principal Geologist & Profit Center Manager for a full-service environmental
cleanup division (including 70 full-time equivalent positions). Conceived and developed as one of the first
remediation design groups in the U.S. (1989), the group designed and operated over 1,000 groundwater and
soil cleanups under state and federal regulatory lead and applicable CERCLA, RCRA and state Voluntary
Cleanup Program (VCP) regulatory statutes. Remediation projects involved DNAPL, LNAPL and heavy metals
(both in situ and ex situ) in ten western states, all of which are closed today. Clients included financial
institutions, paper/forest producis companies, major oil companies and jobbers, municipal, county, state and
federal governmental units and agencies, light and heavy manufacturing and real estate development and
Brownfields.

« Initiation and Development of Portland Office — Mr. Andrilenas started AMEC’s first Environmental
Department, serving as its initial environmental employee and principal in AMEC’s Portland office in 1986.
When he left Portland via corporate advancement in early 1994, the Portland office had grown to over 80
environmental professional, technician and support staff and constituted one of AMEC’s fastest-growing
divisions.

¢ Oregon Convention Center, Portland — Representative projects included one of the first area-wide Phase
| ESAs for a 30-square block municipal renewal project (the Oregon Convention Center) in Portland,
Oregon. This project identified seven Recognized Environmental Condition (REC) sites and designed and
conducted Phase I! ESAs for such sites, eliminating five of the RECs. For the remaining two RECS,
remediation support studies were performed for a specialty chrome site and an industrial laundry that were
over-excavated and removed prior to redevelopment. This work included achieving an NFA from the
Oregon DEQ.

¢ Client and Project Manager — Mr. Andrilenas served as key client manager and senior project manager
for a number of major oil companies during 1986 through 1989 in connection with Underground Storage
Tank (UST) upgrade programs in Oregon, Washington and California. Mr. Andrilenas also managed the
first bioremediation in the United States for Mobil/Exxon, as well as a variety of “first” in situ and ex situ
remediation technology implementations.

¢ Staff Geologist - From March 1983 to March 1986, Mr. Andrilenas was a staff engineering geologist on
approximately 150 geotechnical engineering projects in Washington, Oregon and Alaska, including
permafrost projects on Alaska’s North Slope.

Golder Associates, Seattle, Washington (9/80 — 2/83) — Staff Geologist

Mr. Andrilenas was Staff Engineering Geologist for a nuclear reactor siting study at the Hanford Nuclear
Reservation and at the Centralia Coal Mine in Washington State. The work involved extensive drill-logging
experience using core drilling, hollow-stem auger, mud and air rotary. Golder also "loaned" Mr. Andrilenas to the
University of Washington Sediment Laboratory to develop x-ray diffraction of clay samples, sediment
extractions, sediment sampling and mineralogical study of heavy-mineral distributions in sediment samples.
Tasks included taking samples as part of the Columbia River Estuary Project, which was a study of source and
provenance of sediments (both before and after the Mount St. Helens volcanic eruption).

REPORTS AND PUBLICATIONS

Andrilenas, J. and Schlosstein, F., “Pitfalls & Knowledge that can make or Break A Deal”, March 3 edition of
the ACG Middle Market Growth Magazine on Energy, 2014.

Andrilenas, J., and Lockert, S., “Restoration-based Settlements: The Need for Resource Banking”,
published in State Bar of Georgia Environmental Law Section, spring 2005.

McPherson, J., J.S. Andrilenas, KV Lew, F. Schelby, "Bioattenuation of a BTEX Plume", Published in:
Proceedings of the 2nd International Environmental Geotechnics Symposium, Osaka, Japan, 1996.

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Esler, C.E., RS Miller, JS. Andrilenas, “A Case Study of Horizontal Wells Remediating a Mixed Solvent
and Gasoline Plume”, in Proceedings of American Engineering Geologists National Convention, Portland,
Oregon, 1995. ©

DeSantis, P., Esler, C.E., Miller, S., Lew, KV, and J.S. Andrilenas, "Soil Vapor Extraction/Groundwater High-
Vacuum Pump & Treat Using Nested, Horizontal Wells", in Proceedings of National ASCE Hazardous
Waste Conference, 1995.

Saberiyan, A., J.S. Andrilenas, R. Moore, A. Pruess, "Development of a Bench Scale Biotreatability Study
Protocol to Evaluate the Practicality of Bioremediation of Impacted Soil", in Proceedings of Battelle's
Third International Symposium on Bioremediation, 1995. Reprinted in Battelle Press edition of Monitoring and
Verification of Bioremediation, pp. 185-191, 1995 (Hinchee et al., Ed.).

Saberiyan, A., RS Miller, C. Vine, P. DeSantis, J.S. Andrilenas, C.E. Esler, “Removal of Gasoline Volatile
Organic Compounds via Air Biofiltration: A cost-effective Technique for Treating Secondary Emissions
(full-scale unit)", published in Proceedings of Battelle's Third International Symposium on Bioremediation,
1995. Reprinted in Battelle Press edition of Biological Unit Processes for Hazardous Waste Treatment, pp. 265-
270, 1995 (Hinchee, et al., Ed.).

Andrilenas, J.S., J. McPherson, F. Schelby, 1994, “The Use of Attenuation Modeling in Corrective Action
Planning", in Proc. of 1994 Southwest & Rocky Mountain States Air-Waste Conference.

Saberiyan, A.G., Wilson, M.A., Roe, E.O., Andrilenas, J.S., et al, 1993, "Removal of VOCs via air-
Biofiltration: A technique for treating secondary air emissions from vapor extraction and air-stripping
systems”, in Proceedings of Battelle's Second International Symposium on Bioremediation. Reprinted in Lewis
Publishers edition of Hydrocarbon Bioremediation, 1994 (Hinchee et al., Ed.).

Wilson, M.A., Saberiyan, A.G., Andrilenas, J.S., et al., 1993, "Bioremediation of waste-oil contaminated
gravels via slurry reactor technology", in Proceedings of Battelle's Second International Symposium on
Bioremediation. Reprinted in Lewis Publishers edition of Hydrocarbon Bioremediation, 1994 (Hinchee et al.,
Ed.).

Kuiper, J., J.S. Andrilenas, S. Hooton, 1993, “In-Situ biosparging in clayey silts and sands as a method of
removing volatile organic compounds”, in Proceedings of NWWA Seventh Annual Outdoor Action
Conference.

Ware, C., Andrilenas, J.S., et al., 1993, "Structurally controlled plume migration determination utilizing
seismic refraction”, in Proceedings of NWWA Seventh Annual Outdoor Action Conference.

CONTINUING EDUCATION AND CERTIFICATIONS

° RACER® 11.3, AECOM, 2016

e Insitu Remediation, Montclair State University, 2016

e GIS for Environmental Applications, Montclair State University, 2015

e Thermal Remediation, LSRPA, 2015

« Rapid Design & Analysis of Groundwater Remediation Systems, Rutgers University, 2015
« Advanced Tools Workshop for Insitu Remediations, LSRPA, 2015

e NJDEP Air Quality Permitting, Rutgers University, 2014

e NJDEP Stormwater Management, Rutgers University, 2014

e NJDEP Discharge Prevention & Compliance, Rutgers University, 2014
e NJDEP Environmental Auditor, Rutgers University, 2014

e Ecological Risk Assessment, Rutgers University, 2014

« Remedial Investigation Hot Topics & Legislation, NJDEP, 2014

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Environmental Law for LSRPs, Rutgers University, 2014
NJDEP Case Studies for LSRPs, Rutgers University, 2014

Innovative Technologies for Site Remediation, Rutgers University, 2013
Aquatic Management, Rutgers University, 2013

Environmental Consultant as Expert Witness, Rutgers University, 2013
NJDEP UST Regulations, Rutgers University, 2013, 2014

Light Non-aqueous-Phase Liquids: Science, Management, and Technology, ITRC, King of Prussia, PA,
2013

Risk Analysis Modeling for Financial Companies, Palisades, 2012

LSRP Review Course, EBC, 2012

Geology of Northern New Jersey, Rutgers University, 2009

NRD Litigation Strategies, ABA-NJ, 2005, 2007, 2009, 2011, 2013
Measuring & Reducing Corporate Water Footprints, 2009, 2010

Riparian Area Management: Assessing Proper Functioning Conditions of Riverine Systems, 2004
NRD/Cooperative Assessments (CAP) Panel Member, NOAA, 2001-2004
RACER? Software Certification, 2002, 2016

AIG Environmental Claims Training, 2002

AIG Consultants Cleanup Cost Cap Training, 1999, 2001, 2003

Palisade @Risk/Decision Tools Software Certification, 2001, 2013
Dredging, 2001

AIG Environmental Underwriting Training, 1999

Princeton Remediation Course, 1998.

API/ASTM Risk Based Corrective Action (RBCA) Training, 1997

48 hour HAZWOPR 1985-17

AWARDS AND RECOGNITION

2011-2012 — Chemistry Council of New Jersey (CCNJ), Associate Member of the Year

2004 — AIG Consultants Environmental Management Division Innovative Projects Award for Lower
Duwamish Habitat Corridor Project

2003 — AIG Environmental Service Award for Milltown Reservoir Superfund Site CCC/PLL Finite Insurance
Program

2002 — AIG Environmental Service Award for Fox Avenue Property State Superfund Site CCC/PLL Finite
Insurance Program

2002 — Distinguished Service Award, AIG Consultants (Worldwide recognition)

ASSOCIATIONS AND MEMBERSHIPS

« National Groundwater Association

e Commerce & Industry Association of New Jersey (CIANJ)/Environmental Business Council (EBC)

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e Licensed Site Remediation Professionals Association
e Society of Environmental Toxicology and Chemistry

LITIGATION SUPPORT SERVICES

Mr. Andrilenas’ work in fegal support and expert witness roles has included the following notable aspects:

* Innovative Environmental Valuation Studies — Mr. Andrilenas worked with a legal and consulting team
over a two-year period to formulate a groundbreaking environmental valuation methodology for
Groundwater Natural Resource Damage settlements using recycled storm water. The project involved the
NJDEP and its economics expert as well as a team of recognized industry experts in additional specialized
fields (including watershed, groundwater, engineering, water treatment, regulatory and real estate). Law
Firm: Wolff & Sampson (now Chiesa Shahinian & Giantomasi PC), West Orange, NJ

*« Water Rights Study — Mr. Andrilenas collaborated with environmental and other attorneys to develop an
opinion as to ownership of water resources derived from recycled storm water. The project involved legal
research and preparation by the law firms of a comprehensive legal memorandum as io the ownership
rights. Law Firms: Wolff & Samson (now Chiesa Shahinian & Giantomasi PC}, West Orange, NJ, Squire
Patton Boggs, Newark, NJ and McCarter English, Newark, NJ

e Environmental Tax Credit Study — Provided technical environmental expertise and research to outside
counsel relating to the legal underpinnings and practices for promulgation of New Jersey Administrative
Code § 7:14D, “Determination of Environmental Benefit of the Reuse of Further Treated Effiuent in
Industrial Facilities’. The rules enable buyers of treatment/conveyance equipment to apply for a DEB
(Determination of Environmental Benefit) and obtain a corporate business tax credit or sales tax refund.
Law Firm: Squire Patton Boggs, Newark, NJ

e NRDA Settlements — Furnished environmental expertise for two NRDA settlements of Groundwater
Natural Resource Damages in New Jersey. Collaborated extensively with in-house counsel, the New
Jersey Attorney General (Division of Law-Environmental Enforcement Division) and the NJDEP (as
plaintiffs), and their respective counsel and outside experts, as well as outside counsel for the defendants.
Tasks included valuation of NRD liabilities and in-kind services replacement, including the establishment of
insurance indemnification for the in-kind services remedy. Worked with several insurance carriers and AON
Environmental to establish a first-of-kind indemnity agreement for NRDA settlements. Law Firms: Patton
Boggs, Newark, NJ; McCarter English, Newark, NJ

e NRDA & Intellectual Property - Supported a non-disclosure stance taken by a third party drawn into a
lawsuit between the State of New Jersey (as plaintiff) and a defendant company under a Natural Resource
Damages case. The third party firm had previously hired the State of New Jersey's expert witness
consulting firm on an unrelated matter and possessed a variety of intellectual property in the Natural
Resource Damages space. The defendant sought through naming the third-party firm as a material witness
to discredit the State of New Jersey’s expert by exposing this proprietary information. A limited amount of
information was shared under a court protection order. Law Firm: Connell Foley, Roseland, NJ

e Innovative Stormwater Lease Agreement ~ Collaborated with four law firms and in-house corporate real
estate, environmental and financial advisors to formulate a first-of-kind, “fee for use” leasing agreement for
reuse of Stormwater derived from rooffcommon area runoff. The year-long genesis involved significant legal
research and the evaluation of several existing types of leases and fee contracts (such as oil leases, solar
leases, etc.) in which the lessee was not a tenant. Development of the fee for use lease (which involved
input from the insurance carriers, mortgage holders, landowner and operator) shaped Best Management
Practices for real estate access, insurance coverages, infrastructure construction, and operating,
maintenance and monitoring protocols. Law Firms: Winston & Strawn (Washington, DC), Saul Ewing
(Washington, DC), Loeb & Loeb (Los Angeles) and McCarter English (Newark, NJ)

e Liability for Cleanups Settled before Trial - Represented multiple major oil companies as defendants in
disputes with independent service station dealers regarding responsibility for the cleanup of the dealer's site

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and reasonableness of costs. The cases settled prior to trial at a considerable discount to the original
claims. Law Firms: — Stoe/ Rives LLP, Portland, Oregon and Ater Wynne, Seattle, WA

e Warehouse Purchase & Sale — Retained by a warehouse owner and its law firm in connection with a real
estate transaction. The issues included third-party environmental trespass by an offsite DNAPL plume, and
assessment of onsite cleanup responsibility of a middle-market tenant that had impacted the warehouse
site. Advocated use of environmental insurance to provide buyer/seller protection against the third-party off-
site plume and for any subsequent issues due to tenant's environmental cleanup. The matter was resolved
without litigation through (among other things) implementation of the environmental insurance, which
removed any potential for diminution of value of the property for the buyer. Law Firm: Hillis Clark Martin &
Pederson, Law Offices

* Reservation of Rights Dispute — Retained by an insurance company for reservation of rights case
involving potential fraud from disclosure dispute as to cleanup costs and purported Natural Resource
Damages claims for an upland and sediment cleanup Superfund site. The initial work involved
management of a third-party environmental consulting firm to develop a reasonable-case cleanup cost
estimate and Natural Resource Damage claim, estimated by the third party firm to be in the range of $70
million. Based on this estimate, and using an equal alternative approach, Mr. Andrilenas helped the insured
and the carrier to redesign the remedy and was involved preparation of bid documents and carrying out an
innovative bidding to some of the best sediment remediation design firms in the US. The third stage
involved assisting the insured and insurance carrier with the technical review of claims to test for
reasonableness (during Remedial Investigation, Feasibility Study and Remediation Design phases). The
fourth stage involved taking the new design out to bid using an innovative construction payment process, a
Sliding fee profit margin where by the contractor would share risk with the insured and carrier, assisting
construction bid submittals and the ensuing environmental claims. All work was completed without litigation
at a less than one-half the cost of the amount of the original (independent) third-party environmental
cleanup estimate. The USEPA awarded a commendation for the project in 2006 as one of the best
sediment remediations under CERCLA and the project is in its second term of a 30-year post-closure
monitoring. Insurance Carrier: AIG EnvironmentaV/AIG Technical Services. Insurance Carriers Law Firm:
Schulte Roth & Zabel LLP. Defendant's Law Firm: Perkins Coie, Seattle, WA

 

* Insurance Company vs. Municipality —- Evaluated construction work costs and practices for an insurance
company defendant sued by a municipality. The plaintiff alleged that the defendant was liable for all costs
on an excavation and removal project at a tenant’s facility where petroleum hydrocarbon impact ernanated
from a previous usage. The case settled before trial. Law Firm: Cozen & O’Connor, Seattle, WA

e Unigard Insurance Company vs. Safeco Insurance Company — Evaluated cleanup for the plaintiff
insurance company (Unigard) in a dispute with the defendant insurance company (Safeco.) The case was
settled prior to trial with the defendant carrier assuming responsibility for the cleanup. Law Firm: Riddell
Williams, Seattle, WA

e Financial Institution vs. Holding Company — Represented major financial institution plaintiff in dispute
with holding company over costs and sufficiency of remediation efforts for a chlorinated hydrocarbon
cleanup. Work entailed evaluating the efficacy of the cleanup to date and rendering an opinion as to its
sufficiency. Resulted in release of merger escrow funds back to the bank, Law Firm: Foster Pepper PLLC

e Public Testimony and Legislative Panels ~ Provided expert testimony to a legislative panel as part of an
expert team. Two cases concerning an office building involved the historical impact of petroleum
hydrocarbons on the building’s site, and toxic tort and trespass from an offsite source that caused bodily
injury and property damage to the building. in both, the defendants took responsibility before trial for past
and future cleanup costs. Because the source of impact to the building involved trespass of public owned
groundwater, a legislative panel was convened to discuss the facts of the case and to seek relief. Law
Firms: Greenburg Traurig, Miami, FL and Kane Jordan von Oppenteld & Bischoff, Phoenix, AZ

e Expert Report of Opinion - Forensic Remediation Cost Review ~ Retained by an insurance carrier's
outside counsel! to conduct a forensic review of the reasonableness and necessity of cleanup costs that the

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plaintiff expended on a service station/bulk plant remediation site. The case was settled before trial at a
significantly reduced claim amount. Law firm: Brown Davis & Roberts, Gig Harbor, WA

e Expert Peer Review of Phase | ESAs for Financial Institutions — Provided expert environmental “peer
review” opinions for commercial lending due diligence for the commercial divisions of five major financial
institutions (Keycorp, Wells Fargo, Washington Mutual (now JPMorgan Chase), US Bancorp and Bank of
America). Duties included review of Phase | ESAs prepared by other firms and a determination of
sufficiency in accordance with ASTM standards.

« Expert Peer Review of Phase | ESAs for Restaurant Franchise Owner — Provided expert environmental
“peer review” services for a New York law firm in support of their client, a major restaurant franchise owner,
regarding a real estate transaction. Law Firm: Kaufmann Gilden Robbins & Oppenheim LLP

Expert Testimony, Material Witness and Depositions

*  Practicality of Obtaining insurance Coverages — Mr. Andrilenas Represented defendant in a case
involving the practicality of the use of environmental insurance for a shopping center where a gas station
mini-mart was impacted with petroleum hydrocarbons and a dry cleaner was affected by chlorinated
hydrocarbons. Gave expert testimony on whether a carriers due diligence during underwriting would have
resulted in unrestricted coverage for cleanup. Law Firm: William Kastener Gibbs, Seattle, WA

e Utility Plaintiff Cost Recovery — Represented a power utility plaintiff in a cost-recovery case against
grocery chain and service station defendants. Allegations were made as to party responsible for historical
contamination relating to ownership of a petroleum hydrocarbon plume affecting the utility's property. The
District Court found for the plaintiff in a bench trial. Law Firm: Cable Huston Benedict, Portland, OR

e Export Report of Opinion — Errors and Omissions — Represented a defendant (engineer) through his
carrier (Cigna) in an errors and omissions/construction defect case with a plaintiff property owner. The
plaintiff alleged that the defendant had been negligent in the cleanup of diesel range fuels at a petroleum
bulk plant. Used a statistical analysis to show that the field screening methods employed would have
provided no better results than the plaintiffs expert's claims that field sheen testing should have been used.
The case settled prior to trial at a considerable discount to the original claim amount with no admission of
liability. Defendant's Law Firm: Chmelik Sitkin & Davis PS; Carrier's Law Firm: Blount Law Firm

« Efficacy of Remediation Remedy — Represented a plaintiff landowner in a dispute with a tenant regarding
the sufficiency of cleanup of petroleum hydrocarbons by use of bioremediation. Mr. Andrilenas’ expertise
was established by the court for bioremediation cleanup method. The case was settled for the plaintiff in
bench trial. Law Firm: Parsons Behle & Latimer, Sait Lake City, UT

e Material Witness for Construction Dispute — Engaged by the General Services Administration for
assistance on a major foundation failure relating to a tied-back wall of a federal office building. Mr.
Andrilenas was originally retained as the lead inspector for the earth portion of the construction. Following
the failure of hundreds of tiebacks due to a construction defect (and the subsequent implementation of a
solution), Mr. Andrilenas served as a key material witness and gave multiple depositions over several years
in appellate proceedings for several GSA claims. The case was ultimately resolved in favor of the GSA.
Client: General Services Administration, Portland, OR

[End of C.V.] [10/16]

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PAUL SCIAN, PG
© TBLS ENVIRONMENTAL RISK ASSESSMENT MANAGEMENT

 

Paul Scian is a recognized expert in the fields of environmental risk assessment, analysis, quantification and
modeling, and pollution insurance. Mr. Scian has over 30 years’ experience in achieving optimal solutions for
complex environmental concerns. He is a licensed Subsurface Evaluator in New Jersey and a Professional
Geologist in Wyoming and Pennsylvania. Paul is a member of the American Association of Petroleum
Geologists.

Mr. Scian acquired his first thirteen years of environmental consulting experience at national engineering firms
Malcolm Pirnie (now ARCADIS), Foster Wheeler and ICF Kaiser. He led and worked on dozens of projects,
including numerous Superfund sites; UST closures along the U.S. East Coast; water development for
municipalities and industrial users; large re-development efforts on historic industrial sites; remedial
investigations on numerous military bases (including the development of feasibility studies and risk
assessments based on investigatory findings); and development of an environmental baseline for a Caribbean
refinery.

After acquiring this varied experience in environmental consulting, Mr. Scian was recruited to join AIG
Consultants as an environmental risk analyst in New York City. AIG was particularly seeking the varied
experience Mr. Scian could bring to the AIG Consulting engineering team. While at AIG Consultants, Mr. Scian
was 100% dedicated to supporting the AIG Environmental unit as his internal AIG client. He focused on the
engineering aspects of risk underwritten in insurance policies by AIG Environmental. Paul served in many roles,
including engineering manager of the New York Region, which was AIG Environmental’s highest premium-
producing region in the U.S. For all of AIG Environmental’s Regions, he led engineering teams in analyzing
environmental risk on all high-value, high-risk deals across the U.S. This work included the Hudson River PCB
cleanup; a planned nuclear plant decommissioning effort in Illinois; Union Pacific’s divestiture of its Sacramento

Oo railyard; and numerous property transactions valued at $100 million or more, including divestitures, mergers,
acquisitions and single-party regulatory-driven cleanups. All of these transactions required environmental
insurance to cover the environmental risk exposures of the parties involved. In addition to engineering work on
high-risk projects, Mr. Scian led the New York Region engineering team in analyzing hundreds (perhaps
thousands) of insurance applications in support of AIG Environmental’s insurance underwriters.

Based on his location at AlG’s world headquarters, Mr. Scian was enabled (by AIG Environmental) to work with
other internal clients such as AIG Surety, AIG Global Real Estate, AIG Investments, AIG Worldsource, and
other units facing engineering the environmental risk in connection with various insurance products. For
example, Mr. Scian served as the quality reviewer for all investments made worldwide by AiG Global Real
Estate. Project locations of such investments included the People’s Republic of China (PRC), Japan, Africa,
Italy and others.

Mr. Scian served as National Engineering Manager for two AIG Environmental insurance product lines, Cleanup
Cost Cap (Cost Cap) and Environmental Protection Policy (EPP). Both the Cost Cap and EPP policies required
extensive engineering support, including an analysis and presentation of risk profiles through the application of
Monte Carlo-style analysis. In this role, Paul travelled around the U.S. instructing AlG’s engineers on the proper
support of underwriting functions for Cost Cap and EPP policies through accurate, extensive engineering efforts
and the use of both the AECOM® RACER® software and Palisade Corporation’s @RISK® software.

Mr. Scian possesses a strong understanding of the risk factors that contribute to the evaluation and
development of an overall environmental risk profile for either a particular site or portfolio of sites. Such
understanding is central to all environmental risk engineering efforts. Some of the larger risk factors include past
site operations; current site operations; past and current waste disposal practices; the geologic setting; the
hydrogeologic setting; nearby public and private water supply sources; nearby surface water; immediately
adjacent surrounding land-use conditions; known on-site and off-site existing releases; and the status of any
cleanup efforts. Mr. Scian is an expert in analyzing and integrating the various risk factors for a particular site,

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and creating an overall risk profile. Such profiles become an integral part of the pricing model that is used to
develop insurance needed by clients for the continued operation of businesses on subject properties. ©

FIELDS OF EXPERTISE

e Environmental Risk Assessment, Modeling and Management
Aquifer Hydraulics, Pumping Tests and Subsurface Flow Analysis

e Information Technology Applications to Environmental Risk Modeling (including RACER® and
@RISK® software)

e CERCLA Remedial Investigation, Feasibility Study, Risk Assessment (RI/FS/RA)

e Engineering Applications to Environmental Matters

e Natural Resource Damages (NRDA)

REGISTRATIONS AND CERTIFICATIONS

e Professional Geologist: Wyoming (1991-2016)

e UST-Licensed for Subsurface Evaluation and Closure: New Jersey (1990-2016)
e Professional Geologist: Pennsylvania (1994-2014)

e 48HRHAZWOPR 1986, 1993 and 2009

EDUCATION

B.A. Geology, Rutgers University (1982)

« Undergraduate Studies, United States Air Force Academy — Engineering Program (1977)
M.S. Hydrogeology, University of Massachusetts at Amherst (1990)

B.S. Finance, Ramapo College (2005)

PROFESSIONAL EMPLOYMENT HISTORY @

The TBLS Group, LLC, New Jersey (3/2013 — Present), Environmental Risk Management

Mr. Scian handles complex environmental risk-evaluation and liability-assessment modeling as part of The
TBLS Group's team of experienced environmental experts. He also addresses engineering, financial and other
aspects relating to the investigation, evaluation, remediation, closure and monitoring of environmentally
contaminated sites.

RiskNomicsLLC, New Jersey (1/2012 — 3/2015), Vice President

Mr. Scian served as a Vice President for RiskNomics, performing risk assessments for insurance placements.
With his experience and expertise in environmental investigations and remediation, and background in
insurance, risk evaluation and finance, Paul served clients in insurance offices throughout the U.S.
Representative work assignments include the following:

e Fast-Food Restaurant Risk Profile — Developed risk profile for a fast-food restaurant built over former
LUST (Leaking Underground Storage Tank) gas station location that received regulatory closure (NFA/Jan
2002). (The revised California vapor intrusion regulations are now more stringent.) Residual contamination
remained in area of former gas station. Risk analysis focused on whether construction of new restaurant
included vapor barrier overlying a gravel bed to passively vent residual volatile organic compounds (VOCs)
vapors; frequency of changeover in air from customer entry and exit; and whether new restaurant had a
basement area. Coverage levels for applicant depended on information addressing these risk factors.

e Historic Manufacturing Facility — Formulated risk profile for former automotive facility operating since the
early 1900s with documented releases to the environment. A prior developer went bankrupt in the process

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of expending significant funds to clean isolated releases. New developer requested insurance to prepare
the site for future vertical developers. Regulatory risk presented was limited under Colorado Voluntary
Cleanup Program. Analysis indicated significant additional remediation was required together with a high
potential for both increased onsite investigation and remediation when new developer commenced removal
efforts relating to building slab.

« Emergency NYC Site Portfolio Reconnaissance — After Hurricane Sandy, conducted emergency site
review of apartment building portfolio in New York City. Large influx of claims received by insurance
company led to proactive review of facility locations and assessment of pre- and post-storm flood risks.

e Multi-State Chemical Recycling Facility — Performed insurance survey of four state recycling operations
through use of applicable USEPA databases and extended telephone surveys.

e Ongoing Operations Risk — A regulatory visit years earlier at an existing industrial operation triggered a
small soil cleanup effort. Analysis of existing FOIA (Freedom of information Act) records revealed the
property was high risk due to continued review and revised requirements of the Alameda County
Environmental Health Department (ACEHD). Although the site was zoned industrial, ACEHD continued to
request additional investigations. The requests could result in additional findings to the extent each
investigation (and related sample results) revealed new constituents of concern. Such findings could lead to
further potential site investigations and cleanup (including an elevated potential for expansion of both
investigations and cleanup efforts to adjacent off-site properties). The potential for third-party claims based
on environmental liability was mitigated by the presence of similar industrial uses on such adjacent
properties.

e Redevelopment — Negotiated redevelopment conditions for multi-site transfers between a redeveloper and
an insurance company for a location on Treasure Island, San Francisco that was subject to U.S. Dept. of
Defense FUSRAP (Formerly Utilized Sites Remedial Action Program) and FOST (Finding of Sustainability
to Transfer) standards.

e Chemical Recycling — Performed a risk assessment for a multisite chemical recycling company, including
assessment of contingency pians and reporting records in accordance with RCRA requirements.

e Product Liability — Conducted a productliability review for a synthetic oil manufacturer that included
determination of component characteristics and volume throughputs, and review of a RCRA SPCC (Spill
Prevention, Control and Countermeasure) plan.

e Vapor Intrusion — Executed TCE (Trichloroethylene) vapor intrusion analysis of brownfield redevelopment
project and surrounding neighborhood in upstate New York under New York DEC cleanup. Adjacent
properties included an elementary school and daycare facility; the risk profile developed addressed these
conditions and enabled the underwriter to properly protect against high-risk aspects of the project.

Bluefield Holdings, Inc., New Jersey (3/2011 — 12/2011), Director of Operations

Mr. Scian was Director of Operations for Bluefield Holdings. Bluefield was an innovative startup engaged in
developing an alternative groundwater settlement mechanism to respond to Natural Resource Damage (NRDA)
environmental liability assessments made by the NJDEP under CERCLA and New Jersey Site Remediation
Program regulations. While at Bluefield, Mr. Scian performed the following duties:

e Member of multi-disciplinary team formed to establish processes and metrics for the alternative NRDA
settlement mechanism. The mechanism involved maintaining proximity nexus between the natural resource
injury location and the remedy, including for injuries located within urban watersheds.

e Prepared monthly financial reports; updated investor pro forma and presentation deck for additional funding:
verified accuracy of all vouchers, account balances and journal entries for monthly close process; and
managed account reconciliations to ensure accurate and timely payments.

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e Conducted analyses of business metrics, presented explanations of variances (to budgeted/forecast
amounts) to investors and formulated and made recommendations for business improvements.

.AIG Consultants, Environmental Management Division, New York (5/1999 — 12/2010),
Engineering Manager

Mr. Scian was an engineer for AIG for 12 years at the company’s headquarters in New York City. Paul worked
extensively in the underwriting, claims and investment areas, and on technology system upgrades. He was
national manager for AIG’s Cost Cap and EPP engineering programs, leading underwriters and engineers
across the country in handling the most complex environmental transactions facing AIG. Mr. Scian managed
indirect reports totaling 47 engineers in a matrix structure; such engineers would report directly to Mr. Scian for
projects involving Cost Cap or EPP insurance policies. Mr. Scian headed up AIG’s engineering for a $23 billion
buyout of a public company, identifying key concerns and materiality issues and directing internal and external
consultants. For the project, he ran simulations of projected future environmental costs, completing them on an
accelerated timetable.

Mr. Scian performed extensive work on AIG's portfolio programs that involved landfill-closure and post-closure
financial assurance funding. In addition, he served as review engineer for the senior environmental engineer of
AIG Global Real Estate on all AIG investment properties worldwide. Paul trained all of AIG’s engineers in the
use of the AECOM® RACER® software to enable evaluation of cost estimates provided to AIG by consultants
nationwide. He also trained AlG’s engineers in the company’s environmental liability computer modeling utilizing
Monte Carlo simulations and graphical presentations of probability distribution outputs, showing cost-risk
expectations over time.

Mr. Scian conducted training and prepared white papers for underwriters regarding emerging environmental,
health and safety risks (such as nanoparticles, endocrine disruptors, indoor vapor intrusion, Natural Resource
Damage and emerging contaminants).

Additional key matters included redevelopment projects for industrial brownfields, Superfund cleanups and
sediment dredging/restoration projects. On many of these projects, Mr. Scian was an integral member of AIG's
team performing deal negotiations, establishing terms and conditions and crafting policy endorsements. Paul
also worked on IT projects involving extensive AIG databases, including development of an environmental
claims database and integrating engineering and underwriting databases. Mr. Scian also led the company’s
Quality Assurance/Quality Control engineering re-writing efforts for complex carrier settlement negotiations
involving legacy environmenial policies.

Representative matters while at AIG include the following:

e Landfill Closure and Redevelopment (Meadowlands of Northern New Jersey) — This project involved
funding of $112 million under the federal Solid Waste Disposal Act (SRF) and (among other things)
fulfillment of RCRA requirements. Mr. Scian led a team that confirmed projected costs using the AECOM®
RACER® software, managing one in-house engineer and three outside subcontractors retained to support
the effort.

« Landfill Financial Assurance Funding of Three Landfill Sites (Indiana) - Mr. Scian led the engineering
team’s validation of costs (which was achieved using the upper range of RCRA cap costs) for installation of
a $45 million landfill closure and groundwater contro! program. Mr. Scian’s team confirmed the RCRA
requirements and estimated costs using the RACER® software, and via calls to local service providers. Mr.
Scian managed a team of three engineers.

e GE PCB dredging project (Hudson River) — Mr. Scian’s team performed cost-estimating focused on
validation of major cost drivers within the broader project. The number one cost factor was sediment
disposal, with the second-ranked factor being the actual dredging. GE’s proposal for insurance coverage
estimated the costs at $700 million to $800 million. Mr. Scian formed and led an internal interdisciplinary
team together with subcontractors assembled to validate costs. For this work, he and his team used the
RACER® software model and internal (proprietary) cost databases. Mr. Scian and his team also developed

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a Monte Carlo stimulation (using various inputs from the team members) that estimated the overall costs in
the range of $650 million to $2 billion, with a 65” percentile at approximately $1.2 billion. The team included
senior AIG management, underwriters, engineers and geologists, together with retained subcontractor
firms.

e Sediment Remediation under New York DEC Oversight of Divested Property (along Hudson River) — The
property was divested by Icon Cable. The sediment contamination (primarily PCBs) affected both the
subject property and offsite areas due to stormwater culverts generating dispersal along the northern and
southern boundaries of the property, and tidal dispersion. Total cleanup costs were estimated at $7.5
million. Mr. Scian’s team reviewed and commented on a proposed Remedial Action Plan (RAP) and
recommended that the primary consultant make changes in the plan. For this effort, Mr. Scian managed
team of two engineers.

¢ Soil Remediation at Divested Operations (Calvert City, MQ) — EON, a Germany power company, divested
certain of its operations. The site was to operate in compliance with RCRA requirements, including onsite,
low permeability, and waste cell storage units. Mr. Scian managed a multi-disciplinary team of six (that
included underwriters, engineers and a geologist) to address the insurance submittal. Coverage placement
for the EPP policy totaled $76 million.

e Regional TCE (Trichloroethylene) Groundwater Cleanup (Southern California) — Mr. Scian and his team
developed a cost model that addressed water usage increases, resource scarcity cost pressures,
infrastructure maintenance and carbon change outs (as the selected remedy) over the duration of the
applicable insurance (20 years), together with cost recovery through negotiations with PRPs (Potentially
Responsible Parties). Multiple PRPs and water purveyors created a complex ownership structure for the
proposed $120 million EPP insurance policy, but ultimately no policy was issued.

In 2004, Paul was recognized as AlG Consulting’s top internal consultant worldwide, winning the Distinguished
Service Award.

Mr. Scian’s previous work (described below) was in environmental consulting at ICF Kaiser, Foster Wheeler and
Malcolm Pirnie.

ICF Kaiser, New York (1997 — 1998), Project Manager
Mr. Scian’s project activities at ICF Kaiser included the following (among others):

e Strategy for U.S. Army Corps of Engineers — Mr. Scian worked with the U.S. Army Corps of Engineers to
develop a No Response Action (NRA) strategy, implementing a Monitored Natural Attenuation (MNA)
approach for U.S. Army sites. Using USEPA risk-assessment statistical protocols, the strategy that was
developed supported the U.S. Army Corps’ position over more costly approaches while remaining
protective of human health and the environment.

e U.S. Army - Picatinny Arsenal — Mr. Scian worked closely with Picatinny DOD (Department of Defense)
representatives to develop plans for use by numerous contractors involved in collecting multi-media
samples from numerous AOCs distributed across the facility. Mr. Scian developed, wrote and supervised
implementation of Remedial Investigation (RI) work plans (WP), sampling and analysis plans (SAP), quality
assurance project plans (QAPP) and health and safety plans (HASP) required for the ongoing site studies.
Mr. Scian worked with onsite DOD representative on a daily basis and with the USEPA on both weekly calls
and in monthly meetings. The plans underwent “draft”, “draft-final” and “final” development and were
ultimately approved by both the DOD and the USEPA. Specific projects that were implemented included
the following:

o Multidepth Aquifer Sampling for identification of potential offsite vectors near the down-gradient
discharge point of the base.

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o Surface Water and Sediment Sampling to measure contaminants, and potential aquatic uptake of the
contaminants, in the large, on-site Lake Denmark.

o Prioritization of Various Smaller Burn Areas for remedial soil excavation measures based on results of
sampling soils for dioxin.

co Sediment Characterization of stream channels throughout the facility for contaminants.

Findings were submitted in Remedial Investigation reports. Burn locations that were targeted for cleanup
underwent Risk Assessments (RA), Feasibility Studies (FS) and Remedial Action Plans (RAPs) (via the draft,
draft-final and final process) until approved by both the DOD and the USEPA. Completed projects were
submitted in Remedial Action Completion Reports. Mr. Scian was the project manager.

Foster Wheeler, New York (1992 — 1996), Project Manager

Mr. Scian was recruited to Foster Wheeler, where he led projects on the USEPA’s SITE Program and the U.S.
Navy’s CLEAN Program and for UST closures at sites along the U.S. East Coast. Internationally, Mr. Scian led
a project for Petroleos de Venezuela S.A.’s (PDVSA) operations at the Curacao oil refinery where he
established a baseline environmental report, conducted aquifer tests and developed a remedial plan to meet
shared goals established by the refinery operator and the government's Tourism Department.

Additional project activities included the following:

« USEPA SITE Program at Nascolite (Millville, New Jersey) — As project manager, Mr. Scian supervised a
field team supporting and evaluating new technology for SITE program at Nascolite. Mr. Scian and his team
designed, directed the installation of and performed sampling at groundwater recovery wells for collection of
high-viscosity contaminant. The team recovered the first pure product collected at the site in over three
years. The findings supplemented the SITE project and showed that the preferred groundwater remedy
could be economically modified to achieve significant additional product removal.

e Norfolk Navy Shipyard (Norfolk, Virginia) - Mr. Scian was project manager leading field teams investigating
AOCs throughout the shipyard. He acted as liaison and provided interface between the USEPA, the U.S.
Navy and the prime contractor for Foster Wheeler on a weekly basis. Mr. Scian’s direct reports included
approximately 30 personnel. Specific aspects of the work of Mr. Scian and his teams included the following:

o Drill Rigs - Development of field program and cost estimate to deploy three drill rigs, installing double-
and triple-cased monitoring wells within landfill footprints under Level B conditions.

o Summer Deployment — Mr. Scian led the field teams’ efforts during the summer deployment, including
health monitoring of all personnel.

o Plans — Mr. Scian directly developed and wrote plans that applied CERCLA requirements, including for
WPs, SAPs, QAPPs and HASPs.

o Reports — Reports written included RI Reports, Feasibility Studies (FSs) and RA Reports.

« Three U.S. Navy Bases — Mr. Scian led and worked with an interdisciplinary team to complete Risk
Assessments using sampling data to prioritize remedial measures at three Navy bases under study. The
completed work included RA(s) for each medium sampled (surface water and ground water, soil and
sediment).

e Resource Recovery Facility (Charleston, SC) — Mr. Scian supervised the excavation and removal of a
leaking UST (underground storage tank) and contaminated soil in compliance with applicable RCRA
requirements.

Malcolm Pirnie (now ARCADIS), New York (1986 — 1992), Project Scientist

At Malcolm Prime, Mr. Scian headed up projects to develop water resources in New Jersey and New York,
leading teams in the development, field testing and confirmation of aquifer models (based on mathematical
analyses) in support of acquisitions of permitted water-withdrawal rights. Paul also managed Superfund

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remedial investigations and remediation projects throughout the U.S. Representative assignments include the

@ following:

e Hazardous Waste Dumping Area (Mamaroneck, New_York) — Mr. Scian was project manager for the
discovery and documenting of an uncontrolled hazardous waste dumping area that was eventually listed as
a New York DEC Superfund site. Mr. Scian and his team developed all of the RI Plans (WP, SAP, HASP
and QAPP). Mr. Scian led all field work (including exploratory Level B backhoe excavations), and
supervised all drill work and the installation and sampling of double-cased monitoring wells. Mr. Scian
headed up the writing of the RI Report that documented all findings. The field teams under his direct
supervision ranged from three to twelve personnel. This work also included the development of cost
estimates for all fieldwork, lab sampling, data analysis and report development.

e Tybouts Corner Landfill CERCLA Superfund Site (New Castle, Delaware) — Mr. Scian designed and
implemented a 144-hour pumping test to analyze and develop accurate capture zones at site. He led three
teams comprising 15 personnel during the test. Mr. Scian used the test results to work with Malcolm Pimie’s
internal engineering team to design a pump-and-treat groundwater system.

e Edgeboro Landfill (East Brunswick, New Jersey) ~ Mr. Scian led and supervised the collection of sampling
data and pumping test data to confirm the design effectiveness of the containment wall at the Edgeboro
Landfill under RCRA requirements.

e Water Supply Well (Newton, Jew Jersey) ~ Paul supervised the drilling, testing, analysis, reporting and
permitting of a 1 MGD water supply well for Newton, New Jersey.

REPRESENTATIVE INTERNATIONAL MATTERS

Mr. Scian’s experience includes work on multiple international matters. Representative projects include:

locations throughout the world resulted in the combined company exceeding 150 manufacturing locations
and providing a global footprint across six continents. The client needed both legacy and new conditions
environmental insurance coverage. An environmental program provided tiered coverage based on
regulatory setting, existing baseline understanding of the manufacturing facility and coverage needs.

@ e Steel Barrel Manufacturer (Global) — Acquisition of large competitor with approximately 60 manufacturing

e Refinery (Curacao) — State-owned refinery pushed by Department of Tourism to address visible air and
surface waters impacts. Assessment of conditions allowed incremental approach to address conditions in
order of severity and monetary impact.

e Legacy Cold War Cement Manufacturing Facility (Riga, Latvia) — Investment developers desired
coverage to protect against changing state regulations. Conditions included release of various surface
pollutants allowed by former Soviet operators and abandoned bunker fuel oil installations.

e Divestiture of Excess Auto Manufacturing Facility (Italy) - Redevelopment efforts involving large 300-
acre joint auto manufacturing. Cost Cap insurance coverage was put in place to address known cleanup
activities together additional coverage to address potential unknown historical conditions that could be
uncovered during redevelopment efforts.

e Textile Facility (People’s Republic of China) — Investment made by a U.S. company on Chinese
mainland. Coverage requested for future conditions. Phase | assessment uncovered ongoing pollutant
releases. Issuance of coverage involved development of various “triggers” to align interests of all parties.

¢ Residential Development (Japan) — Risk involved subsurface soil vapor intrusion. Coverage request was
for pre-existing conditions. Data review indicated that third-party liability would be triggered prior to policy
coverage conditions, allowing placement of the policy and meeting the needs of the developer for release of

project funding.
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e Residential Development (England) — Risk involved coverage for historic, pre-existing conditions.
Legacy conditions have resulted in a moderately impacted surface layer covering the entire proposed
development property. The risk of triggering the policy resulted from the known condition was offset by the
local practice of not requiring removal of historic urban fill which comprised of the majority of the surface
layer pollutants. Coverage was offered using a known site improvernent exclusion offering coverage post
development for those conditions remaining after certificate of occupancy was issued which also met the
needs of the developer for release of project funding.

SELECTED PANEL AND SPEAKING ENGAGEMENTS

e Environmental Financial Advisory Board (EFAB) of USEPA - Meeting on Exploring the Use of
Environmental Management Systems (Arlington, Virginia, June 12, 2007). Mr. Scian was a panelist for the
insurance portion of the meeting. The discussion involved the current use of environmental management
systems, surveying the aspects of existing systems that are most used in the insurance, banking and
investment fields, and addressing whether regulators should consider requiring aspects of the more
commonly used systems for more widespread adoption and use.

e USEPA and New York Society of Security Analysts (NYSSA) ~ Meeting on Dialogue to Explore the Use of
EPA Data in Financial and Investment Analysis (New York, New York, June 19, 2008). Mr. Scian spoke as
part of the morning panel exploring the use of USEPA databases in obtaining risk factors when evaluating
environmental site conditions. Topics included the concerns that should be considered with respect to false
data, development of means to address various levels of data quality, and integrating hypertext into the
USEPA databases to facilitate their use in the investment community.

AWARDS AND RECOGNITION

*® 2004 — Distinguished Service Award, AIG Consultants (Worldwide recognition)
ASSOCIATIONS AND MEMBERSHIPS

* American Association of Petroleum Geologists (1982 — Present)

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Appendix A (Continued)

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Jeffrey Andrilenas

 

has successfully completed the training curriculum to satisfy

RACER® 11.3 Training

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A COM Anne Kakai, RACER Trainer

Hours of Instruction: 8

 
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EXHIBIT B
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Appendix B: Reviewed Files

The following Documents were provided to The TBLS Group by Client Meyner and Landis as source
material to be used in developing the RACER model and opinion. TBLS worked from 27 such Meyner
and Landis file folders as listed below. The sub-files within each folder are presented in the order
provided by Meyner and Landis to make it easier to cross-reference information to Appendix B. The
files may include some duplication of materials across the 27 files as originally presented. However,
when a sub-file appeared more than one time within a given sub-file or zipfile, only the first entry of a
duplicate file has been included in this summary.

FILE 1 — Case Inventory Document

1. DuPont Chambers Works, Deepwater, NJ (No Date), Areas of Concern (AOCs) Receptor and
Emergency Response Tracking or Solid Waste Management Unit (SWMU). (23 pp)

FILE 2-— RCRA Investigation Remediation

1. URS Corporation, Newark, DE (September 2014), Appendix A: Fact Sheets for AOCs and
SWMUs Comprehensive RCRA Facility Investigation Report DuPont Chambers Works
Complex, Deepwater, NJ. (1,210 pp)

@ 2. URS Corporation, Newark, DE (September, 2014) (cover letter to EPA on DuPont letterhead)
(Ociober 1, 2014), Comprehensive RCRA Facility Investigation Report DuPont Chambers
Works Complex, Deepwater, NJ. (259 pp)

3. AECOM (September 2015) (cover letter by Chemours to EPA), 2014 Comprehensive RFI
Supplemental Information Soil Data Chemours Chamber Works Complex, Deepwater, NJ
(September 18, 2015). (33 pp)

4. AECOM (April 2016) 2014 Comprehensive RFI Supplemental Information SWMU
Documentation, Deepwater, NJ (cover letter by Chemours to EPA April 27, 2016). (321 pp)

5. Carle, Candia, CWK-Chambers Works, B.4 Lab Reports CWK interior Investigation CD
Aquifer 2013-2014 REVISION 1. (980 pp)
6. Carle, Candia, B.4 Lab Reports CWK ~ Chambers Works VI Sampling (2014). (707 pp)

FILE 3 — Preliminary Assessments CWKs PAR Complete
1. Boettler, Albert, Corporate Remediation Group, an Alliance between DuPont and URS
(December 22, 2006), Letter from DuPont to EPA with Preliminary Assessment Report

DuPont Chambers Works Complex Pennsville and Carneys Point Townships, Salem
County (December 2006). (2,548 pp)

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FILE 4 — Perimeter Investigation

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Site Photos (November 29, 2009). (18 photos)
Tables Perimeter Investigation Sampling Plan (October 30, 2016). (17 pp)
DuPont (August 13, 2010). Perimeter Investigation Report to NJ DEP { (7,023 pp)

Geosyntec Consultants, Inc. (December 10, 2012), Perimeter Area (AOCS1, 2&3) Remedial
Action Selection Report. (164 pp)

PACE Laboratories (May 31, 2016), Environmental Certifications. (13 pp)

NJDEP (January 2007), Determination of Perflourooctanoic Acid (PFOA) in Aqueous
Samples, Final Report. (17 pp)

Norcross, Scott, AECOM, Senior Project Manager, Vitae.

FILE 5 — Interior Investigation

Subfolder -- Triangle Area Investigation Appendix Photos

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12.

Appendix C-1 Summary of Analytical Results - Non Mobile Laboratory, Triangle Area Pilot
Study. (xls)

Appendix C-2 GORE™ Surveys Environmental Site Assessment (2010).

Stone Boring 09 (2011).

DuPont (2010) Draft Workplan Subsurface investigation of the Chambers Works’ Triangle
Area. (20 pp)

URS Corporation, DuPont Chambers Works (October 2010), Interior Investigation: Triangle
Area Well Installation and Associated Sampling Plan. (17 pp)

URS (2010) Triangle Pilot Monitor Well GO9-MO1B. (3 pp)
Stone Boring 03 (2011).
Stone Boring 06 (2011).
Stone Boring 09 (2011).
Stone Boring 12 (2011).
Stone Boring 17 (2011).

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13. Stone Boring 23 (2011).
14. Stone Boring 26 (2011).
15. Stone Boring 30 (2011).
16. Stone Boring 38 (2011).
17. Stone Boring 42 (2011).
18, Stone Boring 53 (2011).
19. Stone Boring 56 (2011).
20. Stone Boring 64 (2011).
21. Stone Boring 65 (2011).
22. Stone Boring 72 (2011).
23. Stone Boring 85 (2011).

24. Stone Environmental, inc. (February 25, 2011), Final Data Package for Interface Probe,
Waterloo Profiling, Oil Gas, Soil Coring and MobiLab Services. (610pp)

25. Stone Environmental, inc. (February 18, 2011), CWK Triangle Area Investigation Pilot Study,
Post Field Work Status. (72 pp)

26. Lutz, Edward, and DuPont (September 20, 2011), Letter to NJDEP with URS: Remedial
Investigation Phase I: Vadose Zone Sampling Plan. (16 pp)

27. URS, (July 2012), Interior Remedial Investigation B Aquifer Sampling Plan. (21 pp)

28. Motter, Allan, Technical Coordinator, NJ Department of Environmental Protection (September
18, 2012) Interior Remedial Investigation, B Aquifer Sampling Plan dated July 2012. (1 p)

29. Motter, Allan, Technical Coordinator, NJ Department of Environmental Protection (September 6,
2012) Interior Remedial investigation, B Aquifer Sampling Plan dated July 2012. (1 p)

30. Range, Linda, NJDEP (March 7, 2013), Email to Ed. Lutz. (1 p)
31. Tjho, Sin-Kie, USEPA (March 19, 2013), Email to Linda Range. (2 p)
32. Range, Linda (March 19, 2013), Email to Tjho, Sin-Kie. (1 p)

33. Tjho, Sin-Kie, USEPA (March 26, 2013), July 2012 Interior Remedial Investigation B Aquifer
Sampling Plan Letter. (2 pp)

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. Tjho, Sin-Kie (April 11, 2013) Email to Edward Lutz. (1 p)

Range, Linda, NJDEP (April 23, 2013) Email to Carole Chatelain. (2 p)
Faranca, Frank, NJDEP (April 24, 2013) Email to Linda Range, NJDEP re: DuPont, “Again”.

Range, Linda, NJDEP (May 2, 2013) Email to Carole Chatelain, DuPont Aquifer (2 p)

. Lutz, Edward (May 6, 2013), Letter to Tjho, Sin-Kie NJDEP with URS: Interior Investigation

Technical Memorandum. (44 pp)
Appendix A, Site Location Maps, Interior Investigation Area. (2 pp)
Appendix B, Biogeochemical, GW, Figures and Tables. (2 pp)

Appendix C, W.L. Gore and Associates, Surveys, DuPont Chambers Works # 20746921,
Final Report (November 29, 2010). (75 pp)

Appendix D, Figures and Tables. (2 pp)

Appendix E, Vadose Zone Investigation.

a. Figures and Tables. (2 pp)

b. Lutz, Edward (September 20, 2011), Letter to Joseph Karpa, Case Manager, NJDEP
with URS Interior Remedial investigation, Phase |: Vadose Zone Sampling Plan

September 2011. (22 pp)

c. Boring Logs. (157 pp)

. Appendix F, SWMU 45-2 Investigation.

a. Figures. (1p)

b. URS Corporation (May 2013), SWIMU 45-2 Investigation, Summary Report, Carneys
Point Redevelopment Area, Carneys Point, New Jersey. Includes Figures, Tables
and Boring Logs (97 pp)

c. Fact Sheet for Conditional NFA, SWMUs 1 and 2 - Incinerator | and Il. (25 pp)

Appendix H, Aquifer Investigation.

a. Figures. (8 pp)

b. Tables. (50 pp)

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@ c. URS Corporation (July 2012), Interior Remedial Investigation B Aquifer Sampling
Plan DuPont Chambers Works Deepwater, New Jersey. (21 pp)

d. Boring Logs. (50 pp)

e. Gradational Curves Aquifer B Vadose Zone. (33 pp)
46. Appendix |, Aquifer Solid Phase Characterization.

a. Figures. (2 pp)

b. URS Boring Logs. (9 pp)
47. Appendix I-1, Sampling and Analysis Plan.

a. URS Corporation (September 2012), Solid Phase B Aquifer Material
Characterization Study Sampling and Analysis Plan DuPont Chambers Works
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48. Geotech Results-ALS Reports.

a. ALS, Formerly Columbia Analytics Services (November 12, 2012), DuPont Chestnut
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© b. Solid Case Grain Size Curves Pt. 1. (23 pp)
c. Solid Case Grain Size Curves Pt. 2. (29 pp)
49. Geo-Cleanse insitu Proposal.

a. Crosby James, DuPont Corporate Remediation Group (August 9, 2013), Letter to Linda
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b. Griesemer, Jeff, Email to Linda Range, NJDEP (September 26, 2013), RE: Revised
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c. Kuserk, Mary Ann, NJDEP, Bureau of Groundwater Pollution Abatement (October 9, 2013 is
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Discharge Approval and Monitoring Requirements associated with Permit-by-Rule. (4
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d. Griesemer, Jeff, Email to Linda Range, NJDEP (September 26, 2013), RE: PBR Questions
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g. Bryant, Dan, PhD., Geo-Cleanse International, Inc. (September 2, 2014), Chambers
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m. Range, Linda, NJDEP (February 3, 2016), Email to Gwen Zervas RE: Chemours Air
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50. Microbial Insights Data Reports.
a. Statement of Work. (1 p)
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51. Mineralogy — Micron Data Reports.
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52. Secure C LF detection monitoring Table 6. (1 p)

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3. Underground Storage Tank Certification Questionnaire.

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1. Doyle, Dave (1972), Two Photos. (2 pp)

2. DuPont Q-Time Movie —- Chambers Works.

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a. Crosby, James, DuPont Corporate Remediation (August 1, 2014), Email to Tjho, Sin-Kie,

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|. Rowe vs. E.J. DuPont de Nemours and Company U.S. Court, Camden, NJ (August 26,

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m. AECOM (February 11, 2016), Sampling Approach. (3 pp)

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q. Table 5 Summary of Analytical Results
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u. Table 7 Summary of Analytical Resulis
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9. Ei, Tom, DuPont Project Director (January 24, 2007), Sitewide Remediation Overview. (77 pp)
10. EPA (March 4, 2008), Comprehensive Corrective Action Report. (15 pp)

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14, Lutz, Edward, Corporate Remediation Group (September 21, 2009), Letter to Frank Faranca,
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15. DuPont Chambers Works (June 2010), Draft, Vision Meeting PowerPoint Slides. (17 pp)

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17. Lutz, Edward, Corporate Remediation Group (January 5, 2012), Letter to Joseph Karpa,
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18. Range, Linda, NJDEP (March 23, 2012), Reassignment Email re: Performance Polymers. (3
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20. Lutz, Edward, Corporate Remediation Group (June 20, 2012), Email to Linda Range, re:
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21. Norcross, Scott, URS (June 20, 2012), Email to Linda Range Re: URS Secure file room
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22. Handwritten notes (July 10, 2012). (1 p)

23. Lutz, Edward, DuPont (July 31, 2012), Email to David Doyle, NJDEP Re: Summary of
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Zervas, Gwen (August 8, 2013), Email for follow-up meeting with EPA.

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LeReau, Meghan, EPA (September 9, 2013), Email confirmation of PFOA meeting on
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LeReau, Meghan, EPA (September 12, 2013), Email to Linda Range re: Link to DRBC info.
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Range, Linda, NJDEP (October 3, 2013), Email chain to Meghan LeReau, EPA re: DuPont.

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Hartten, Andrew, DuPont (October 29, 2013), Memo to Linda Range NJDEP re: PFOA
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Cable Relocation- Chambers Works. (9 pp)

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Range, Linda, NJDEP (February 6, 2014), Email to LeReau, Meghan, USEPA re: Follow-up
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Range, Linda, NJDEP (February 6, 2014), Email to LeReau, Meghan, USEPA re: Off-Site
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Range, Linda, NJDEP (February 6, 2014), Email to LeReau, Meghan, USEPA re: PFC data
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Lutz, Edward, DuPont (July 10, 2014), Email to Sin-Kie Tjho, USEPA, Notes from

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Lutz, Edward, DuPont (October 21, 2014), Email to Kim O’Connell, EPA re: Agenda for
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Range, Linda, NJDEP (January 5, 2015), Email to Allan Motter re: Chambers Works
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Tjho, Sin-Kie, USEPA (April 13, 2015), Email to NDJEP and Chemours re: Agenda for April
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Chemours (July 16, 2015), Regulatory Team Meeting PowerPoint Presentation. (13 pp)

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80. Lutz, Edward, DuPont (July 21, 2014), Email to Sin-Kie Tjho, USEPA re: Chambers Works
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81. Lutz, Edward, DuPont (September 23, 2015), Email to Sin-Kie Tjho, USEPA Re: Response
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82. Tjho, Sin-Kie, USEPA (September 28, 2015), Email chain to Edward Lutz, Edward, DuPont
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84. Handwritten Notes (October 8, 2015).

85. McGee, Tom, AECOM (October 15, 2015), Email to Linda Range, NJDEP, et al. re: Meeting
Response with Tables of Wells. (1 p)

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87. Lutz, Edward, Chemours (January 4, 2016), Email to Sin-Kie Tjho, USEPA Re: Draft Agenda
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88. Lutz, Edward, Chemours (January 15, 2016), Email to Kim O’Connell, USEPA Re: Remedial
Approach and Remedial Approach Schedule. (2 pp)

89. Tho, Sin-Kie, USEPA (February 17, 2015), Email String to Andrew Hartten, Chemours et al.
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90. Maybury, Steve, NJDEP (March 10, 2016), Email to Linda Range, NJDEP re: Timeline for
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91. Lutz, Edward, Chemours (April 25, 2016), Email to Sin-Kie Tjho, USEPA Re: Final Notice
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92. Lutz, Edward, Chemours (May 12, 2016), Email to Kim O’Connell, USEPA Re: Agenda for
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93. Lutz, Edward, Chemours (June 2, 2016), Email to Kim O’Connell, USEPA Re: Chambers
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94. NJDEP, Dept. Land Use Regulation (DLUR) Application (October 24, 2013).

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96. Telsey, Albert (May 25, 2016), OPRA Request 189778 (Received June 17, 2016). (1 p)

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97. Chemours Phone Log (February and March, 2014), Phone Log of Calls with Meghan
LeReaux, USEPA. (1 p)

98. Bloomberg Law (2014), Plaintiff Claims. (2 pp)

99. Lutz, Edward (December 17, 2012), RCRA GPRA Submission. (1 p)

FILE 7 — Correspondence Site Remediation

1. Doyle, Dave (1972), Two Photos. (2 pp)

FILE 8 — Classification Exception Area (CEA) Folder

1. CEA Folder

a.

Lutz, Edward, DuPont (March 24, 2010), Email to Anne Pavelka, NJDEP et al.,
Chambers Status Meeting Minutes from March 17, 2010. (3 pp)

NJDEP, Bureau of Case Management (October 23, 2007), Letter to Albert Boettler,
DuPont, and Re: Biennial Report for a Groundwater Classification Exception Area
Approval. (1 p)

NJDEP, OPRA Report Base Page (last updated June 15, 2012), Classification Exception
Area/Well Area. (6 pp)

2. Deed Notice Folder

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Boettler, Albert, Corporate Remediation, DuPont (August 10, 2006), Letter to Frank
Faranca, NJDEP, Biennial Certification Monitoring Report #2, DuPont Chambers
Works Site. (77 pp)

Boettler, Albert, Corporate Remediation, DuPont (August 9, 2010), Letter to Frank
Faranca, NJDEP, Biennial Certification Monitoring Report #3, SWMU 13 (cell1), 14,
15, 16, 32B, 47 and 61, DuPont Chambers Works Site. (173 pp)

Boettler, Albert, Corporate Remediation, DuPont (September 29, 2004), Letter to NJDEP,
Biennial Certification Monitoring Report. (72pp)

Deed Notices for 17 SWMUs (August 15, 2002).

Lutz, Edward, DuPont Corporate Remediation Group (October 13, 2014), Report to Linda
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Note: Certain AOC Files contained duplicate materials. Duplicated documents are listed herein as part
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1. URS Corporation (September 2014), Appendix A: Fact Sheets for AOCs and SWMUs
Comprehensive RCRA Facility Investigation Report, Appendix B, RFI Data Gap
Investigation Supporting Information, Appendix C, Soil, Groundwater, Surface Water
and Sediment Data Tables. (1,210 pp)

2. Geo-Cleanse International, Inc. (October 27, 2014), Pilot Test Work Plan AOC 1
Fluoroproducts Area. (131 pp)

3. URS Corporation (September 2014), Fact Sheet for No Further Action AOC 1 —
Fluoroproducts Area. (10 pp)

4. In-situ Treatment to Address Contaminated Soil and Groundwater, Building K-37
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5. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU
17/17A — Ditch Section D182, A Ditch and Sidewalls. (41 pp)

@ 6. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 20
— Ethyl Chloride Incinerators (FR-1A ad FR-1B). (3 pp)

7. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 26
— Freon Spent Catalyst Storage Area. (4 pp)

8. URS Corporation (revised September 2014), SWMU 33 No Fact Sheet - ACOE Led. (5
pp)

9. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 34
~ Gypsum Disposal Area. (4 pp)

10. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 35
— Fluorochemicals Area Surface Impoundment. (4 pp)

11. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 39
— Underground Storage Tanks. (12 pp)

12. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU
55-7 - Chambers Works Area of Fill Deposition Area 1. (32 pp)

13. URS Corporation (revised September 2014), Fact Sheet for No Further Action SWMU 56
— Orthodichlorobenzene in B Ditch. (10 pp)

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FILE 10- AOC 2 TEL Area

1. Boettler, Albert, Corporate Remediation, DuPont (October 21, 2002), Letter from NJDEP Re:
Areas of Concern, Restricted use, No Further Action Letter and Covenant not to Sue Re:
Solid Waste Management Units (SWMUs 9, 10, 11, 13, 14, 15, 16, 32B, 37, 41 (areas 4, 5, 6,
7), 46, 47, 54, 61, Location Deepwater, Salem County. (3 pp)

2. URS Corporation (September 2014), Fact Sheet for No Further Action, AOC 2 — TEL
Area. (9 pp)

3. URS Corporation (September 2014), SWMU 6-See SWMU 57.

4. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 17/17A -
Ditch Section D1S2 A Ditch and Sidewalls. (41 pp)

5. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 25 — Lead
Flue Dust and Lead Furnace Slag Storage Area. (4 pp)

6. URS Corporation (Revised September 2014), Fact Sheet for No Further Action SWMU
39 — Underground Storage Tanks. (12 pp)

7. URS Corporation (Revised September 2014), Fact Sheet for Corrective Measures Study
SWMU 40 - Fuel Oil Storage Tanks. (6 pp)

8. URS Corporation (Revised September 2014), Fact Sheet for No Further Action SWMU
41-1 — Drum Storage Area 1. (26 pp)

9. URS Corporation (Revised September 2014), Fact Sheet for No Further Action SWMU
57 and SWMU 6 - Antiknocks Area and Landfill Il. (6 pp)

FILE 11 ~ AOC 3 Jackson Labs

1. URS Corporation (September 2014), Fact Sheet for No Further Action AOC 3 — Jackson
Labs. (6 pp)

2. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 28 —
Telomer “A” Waste Container Storage Area. (4 pp)

3. URS Corporation (September 2014), SWMU 29 No Fact Sheet — Operating Area.

4. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 31 - Fly
Ash Disposal Area. (4 pp)

5. URS Corporation (September 2014), SWMU 33 No Fact Sheet — Operating Area.

6. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 39 -
Underground Storage Tanks.

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@ 7. URS Corporation (September 2014), Fact Sheet for No Further Action SWMU 51 — Well
DW-8. (4 pp)

FILE 12 —- AOC 4 Aramids Pond

1. Boettler, Albert, DuPont Corporate Remediation Group (February 2003), Remedial Action
Work Plan for Aramids Ponds. (92 pp) (certified)

2. Boettler, Albert, DuPont Corporate Remediation Group (May 26, 2004), Remedial Action Work
Plan for Aramids Pond. (115 pp) (certified)

3. NJDEP (August 11, 2004), Aramids Pond Remedial Action Report. (17 pp)

4. URS Corporation (September 2014), Fact Sheet for No Further Action AOC 6 — Dyes
Area. (4 pp)

5. URS Corporation (September 2014), FACT SHEET FOR CONDITIONAL NFA SWMU 10 —
SOLVENT RECOVERY UNIT II. (3 pp)

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17. Sub-File 18 — June 2011 Data Points
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18. Sub-File 19 — April 2012 Data Points

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19. Sub-Files 20, 21 and 22 —- October 2012 Data Points

 

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51. NJDEP (August 1, 2008), PFOA Investigation Report Approval. (2 pp)

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58. Residential Sampling Locations (2009).

59. Faranca, Frank, NJDEP (January 15, 2009), Email to DuPont with Comments on PFOA
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60. NJDEP (January 22, 2009), Telomer Monitoring of PFOA. (4 pp)
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62. Hartten, Andrew, DuPont (February 11, 2009), Private Water Well Survey and Sampling
work Plan. (17 pp)

63. Faranca, Frank, NJDEP (February 23, 2009), PFOA Investigation and Summary. (2 pp)

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118. DuPont, (December 12, 2013) Residential GAC System PFOA Results —“C84Q13-
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Expanded Off-Site PFC Sampling. (3 pp)

NJDEP-USEPA (September 1 and 2, 2016) Emails Re: Corrective Action Closure/Post
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Installation and Sampling. (2 pp)

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Well Screen Depths with Handwritten notes. (2 pp)

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Hartten, Andrew, Chemours, (May 26, 2016) Email Final Draft to EPA and NJDEP of Residents
Letter/QUAPP to Come in a Couple of Days ( 2 pp)

Chemours, (May 26, 2016) Letter to Sin-Kie Tjho, USEPA Re: Submission of Quality
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Hartten, Andrew, Chemours) (May 29, 2016) Letter 29 Residents GAC System PFOA
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Well Sampling Program with Emails. (5 pp)

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a. Faranca, Frank, NJDEP (March 27, 2005) PFOA Sampling Standard Letter. (1 p)

b. Boettler, Albert, DuPont (Apri! 11, 2005) Letter to Frank Faranca, NJDEP re: CE
PFOA Site RF (1 p)

c, NJDEP (April 21, 2008) PFOA Investigation Report Approval. (2pp)
d. Lieberman and Blecher (April 21, 2008) ORPRA Request, (7 pp)

e. DuPont, Regulatory Affairs (June 4, 2008) PFOA Updated Serum Sampling Memo to
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f. DuPont (February 21, 2006) NJDEP Background Information Slides. (27 pp)

g. Hughes, Dawn, Chemours (May 5, 2015) Certified Letter to Ms. Patterson, NJDEP Re:
March 23 request to sample PFNA — Chamber Works “No Longer Uses PFNA”
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i. Blaze, Paula, NJDEP/QA (November 12, 2015) Internal Email String Re: CW PFC
Sampling Letter. (2 pp)

j. Range Linda, NJDEP (December 18, 2015) Emails Re: List of PFC’s at Chamber
Works. (CW) (3 pp)

199. Zip File - New PFOA, PFNA, PFCs Off-Site

a. Sub-Folder 1- 2006 Lab Data
i. 4Exygen 2006 Sampling Files

b. Sub-Folder 2- 2007 SIR Data PFOA Addendum
c. Sub-Folder 3- 2009 Draft NJDEP Letters to Residents
i. 3 Drafts
ii. Karanvir memo Re: QAPP issues re: Samples
d. Sub-Folder 4- 2009 PFOA Lab Data
i. 4 data files
e. Sub-Folder 5- 2009 MPI PFOA
i. Final Report for OS Sampling LO017954
ii. Final Report for OS Sampling L0Q18044
iii. Final Report for OS Sampling LO017954

f. Sub-Folder 6- 2009 Lab Data
i. 3 data files

g. Sub-Folder 7- 2009 NJDEP Internal Memos
i. 3 files-Analyte Summary and Data Files
ii. Karanvir Memo Re: Review of MPI Reports
iii. Faranca Memo: Request for Technical Assistance Re: 2009 PFOA Decuments
iv. Karanvir Memo (April 28 & 30, 2009)
v. Re: ODQ Variance to MPI Data

vi. Karanvir Memo Re: PFOA Sample Summary with internal Approval

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vii. Environmental Science (June 15, 2009)- Technical Article on PFOA Soil ©
Degradability
viii. CBI Tables

ix. OSC3- Well Data Map
x. CBI Table (June 24, 2009)
xi. Faranca (June 24, 2009) Update and Results Letters
xii. Hartten, DuPont (June 29, 2009) Update and Results Letter
xiti. Public NCWS Map
xiv. 3 Mile Buffer Map
h. Sub-Folder 9- 2006 Lab Data
i. Sampling Letter (May 12, 2009)
ii. PDWWSS Map/Figure(May 13, 2009)
ii, Hartten, DuPont (May 12, 2009) Hawksbridge PFOA Results Letter
™ Hartten, DuPont (May 12, 2009) Results Letters (161 pp) @
i. Sub-Folder 10- June 23, 24, 2009- Results Letter
i. CBI Table
ii. Results Letters
iii. Private Drinking Water Well Survey
ji. Sub-Folder 11-August 4, 2009 PFOA GW Report Data
i. Addendum with Boring Logs
ii. 5 Data Files
k. Sub-Folder 12- October 30, 2009 PFOA Analytic Report Data
i. 5 Data Files
I. Sub-Folder 13- December 1, 2009 Results Letter 2 Mile Buffer

i. CBI Tabie

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ii. Results Letters
iii. Private Drinking Water Well Survey
m. Sub-Folder 14October 12, 2010 PFOA Hawksbridge Treatment System
i. MPt Reports
ii. CBI Table
iii. Results Letters
iv. Private Drinking Water Well Survey
v. Sub-Folder 12- October 30, 2009 PFOA GW Report Data
1. Hartten, Andrew, Chemours) (October 10, 2010) Letter to Faranca,
NJDEP with GAC System PFOA Results -“C81Q16-
637HAWKSBRIDGERD” October 12, 2010. (93 pp)
2. MPI 4Q 2009 and 1Q 2010 Reports
n. Sub-Folder 15- April 29, 2010 PFOA DATA File
i. 7 Data Files

o. Sub-Folder 16- October 4, 2010 PFOA GW Report Data

i. 5 Data Files
p. Sub-Folder 17 -- October 30, 2009 PFOA GW Report Data

i. CBI Table
ii. Results Letters
iil. Private Drinking Water Well Survey

200. Linda Range (May 20, 2016) Sample Well Treatment 1Q16 from Office of Data Quality. (1
p)

201. Linda Range, NJDEP (November 7, 2012) Internal Email Re: PFOA and PFA Reporting. (1
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202. Linda Range, NUDEP (May 7, 2014) Internal Email Re: NJDEP NOT being invited to
DuPont-EPA PFOA meeting. (1 p)

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203. Linda Range, NJDEP (September 10, 2013) Email to Linda Walsh DuPont re: Updates on
PFOA monitoring and wells. (1 p)

204. Linda Range, NJDEP (June 17, 2013) Email to EPA Re: Internal PFOA discussions. (1 p)

205. Linda Range, NUDEP (May 14, 2015) Email to Robert Hall Re: Internal PFOA sampling
methodology. (1 p)

206. Hartten, Andrew, Chemours (May 19, 206) Letter 29 Resident Letter Residential GAC
Results. (1 p)

207. Linda Range, NJDEP (September 12, 2013) Email to Gloria Post Re: Final Draft Summary
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208. Range, Linda, NJDEP (April 7, 2016) Letter to Hartten, Chemours Re; Residents GAC
System PFOA Results 637HAWKSBRIDGERD” 38&4Q 2015 (1p)

209. Residential Sampling Locations (2009)

210. (June 24, 2009) Resident Sampling Table

211. Post, Gloria (September 11, 2013) Updated PFC data from Ranney Station. ( 1p)
212. NJDEP (2009) Draft Letter to Residents, (1 p)

213. Patterson, Pilar, NJDEP (March 19, 2015) Letter to Chemours Re: PFC Effluent Sampling.
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214. Boothe, David, Chemours Risk Management (December 1, 2010) Letter to Commission
Bob Martin, NJDEP challenging NJDEP Actions re: PFOA. (5 pp)

215. Linda Range, NJDEP (December 18, 2015) Email to Robert Hall Re: List of PFCs. (3 pp)

216. Blaze, Paula, NJDEP (November 12, 2015) Email String to Robert Hall PFC Sampling,
Modified EPA 537. (3 pp)

217. Cantor, Ray, NJDEP (October 1, 2010) Redacted Emails re: Reporter Questions on PFOA.
(3 pp)

218. Range Linda, NJDEP (May 13, 2013) Offsite Non-Potable xls. (2 pp)

219. Range Linda, NJDEP (December 1, 2015) Email to Gwen Zervas re: Off-site MW not taken
place yet. (1 p)

220. PDWWSS (May 13, 2009) Private Drinking Well Water Survey and Sampling-
REDACTED ( 1p)

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221. Range Linda, NJDEP (October 2, 2013) Email to DuPont Requesting Sampling of Off-Site
Wells. (1 p)

222. Poste, Gloria, NJDEP (2009) NJDEP PFOA Case Study

223. McGee, Tom, AECOM (September 15, 2015) PFOA Work Plan 2015 Cover Page. (1 p)
224. Griesemer, Jeff (February 2, 2016) Specs for additional Off-Site Monitoring Wells. (1 p)
225. Zervas Gwen, NJDEP (March 10, 2016) Email to Linda Range- PFOA Update. ( 1 p)
226. XIL Spreadsheet (January 1, 2013) (1 p)

227. Range, Linda (May 7, 2015) Sample Data Residential GAC Sample and Survey PFOA
Results. (2 pp)

228. Range, Linda (November 7, 2012) PFOA Level Email Discussion. (1 p)

229. Kloo, Ken, USEPA (February 19, 2016) Email Objection to Chemours Sampling Standard.
(1 p)

230. Tjho, Sin-Kie, EPA (February 2, 2105) Email to Linda Range Re: Chemours Closure Post
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231. Hartten, DuPont (2009) Email re: PFOA 2009 Work Plan. (1 p)
232. Kioo, Ken, USEPA (March 22, 2016) Email Re: Chemours PFOA Monitoring Issues. (1p)
233. Faranca, Frank NJDEP (March 5, 2009) PFOA Work Plan letter to DuPont. (1 p)

234. Hartten, Andrew, Chemours (May 20, 2016) Letter to NJDEP Re: Residential GAC Sample
and Survey PFOA Results. (1 p)

235. Griesemer, Jeff (February 2, 2016) Email Re: Off-Site Monitor Well Screen Depth. (1 p)

236. DuPont (October 26, 2006) Letter to NJDEP Re: Clemente Gravel Pit Preliminary
Samples. ( 1 p)

237. Faranca, NJDEP (March 2, 2015) Interim Criteria for PFOA. (1 p)
238. NJDEP January 2009) Determination of PFOA in Aqueous Samples, Final Report. (17 pp)

239. Tjho, Sin-Kie, USEPA (February 4, 2016) Email to NJDEP re: PFOA meeting with
Chemours. (1 p)

240. EPA (May 21, 2013) Email to Range re: Typo-Date Correction on 2009 PFOA GW
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241. Range, Linda, NJDEP (February 11, 2016) Monitor Well Screen Intervals and Depth. (1 p)
242. NJDEP (March 22, 2016) Email to EPA re: Chemours Potable Well Sampling. (1 p)

243. EPA-NJDEP (May 15, 2013) Emails Re: Groundwater Well Monitoring (elevated level
data). 1 p)

244. Boettler, Albert, DuPont (2007) Letter to NJDEP Re: PFOA Groundwater Investigation
Work Plan. (1 p)

245. NJDEP (September 23, 2009) Letter to Hartten, DuPont Re: Groundwater Investigation
Work Plan Addendum. (1 p)

246. NJDEP (September 20, 2013) Letter to Solvay Re: PFC Effluent Sampling, West Deptford.
(1 p)

247. Boettler, Albert, DuPont (April 11, 2005) Letter to NJDEP Re: RFI for PFOA. (1p)
248. EPA (April 28, 2015) Request for Delineation of PFOA Plume. (1 p)

249. DuPont (October 31, 2014) Letter to NJDEP Re: Off-Site Monitoring of PFOA Permit NJ
0083429. (3 pp)

250. Hartten, Andrew, Chemours (January 18, 2016) Letter to Tjho, USEPA Re: Off-Site Well
Installation and Sampling. (2 pp)

251. EPA-NJDEP ((December 18, 2015) Email String Re: Latest Off-Site Monitor Wells. (2 pp)

252. Chemours-USEPA (November 6, 2015) Email String Re: Work Plan for Expanded PFC
Sampling. (2 pp)

253. DuPont (November 18, 2013) Letter to EPA Re: Weekly Grab Samples Permit NJ0005100
October 2013 Samples. (2 pp)

254. NJDEP (February 10, 2016) Letter to USEPA Re: Offsite Monitor Well Screen Depths. (2
pp)

255. NJDEP (May 12, 2014) Letter to USEPA Re: PFOA Groundwater Monitoring Results
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256. Range, Linda, NJDEP (February 10, 2016) Email to USEPA Notes from Feb. 9, 2016
Conference Call Re: Residential Well Sampling Plans. (1 p)

257. USEPA (January 12, 2015) Letter to Mr. Hartten, Chemours Re: Review of Results of
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258. NJDEP (February 10, 2016) Letter to USEPA Re: Offsite Monitor Well Screen Depths.
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260. NJDEP (July 10, 2007) Letter to DuPont Re: PFOA Work Plan Approval. (2 pp)

261. Faranca, Frank NJDEP (April 21, 2008) Letter to DuPont Re: PFOA Investigation Report
Approval. (2 pp)

262. NJDEP (September 21, 2015) Letter to Mr. Tjho, USEPA Re: Chemours Off-Site
Monitoring Well installation and Sampling. (2 pp)

263. NJDEP-DuPont (January 2009 - December 2010) Email String PFOA Emails. (104 pp)

264. NJDEP (July 21, 2015) Email to USEPA, Mr. Tjho Re: Workplan for Expanded PFC
Sampling. (2 pp)

265. USEPA-NJDEP ((April 18, 2015) DEP Comments on PFOA Map. (2 pp)
266. NJDEP (March 10, 2015) Email String Re: Solvay PFOA Letter (2 pp)

267. USEPA (October 6, 2015) Certified Letter to Hartten, Chemours Re: Delineation of PFOA
Plume (Additional Well Follow-up.) (2 pp)

268. Hartten, Andrew, Chemours (July 27, 2015) Email to Mr. Tjho, USEPA Re: Workplan for
Expanded PFC Sampling. (2 pp)

269. Range, Linda, NUDEP (April 26, 2016) Email to Mr. Tijho, USEPA Re: Hartten Email- Sample
All Private Wells and Monitor Wells on Hold. (2 pp)

270. Ledogar, Leslie, NJDEP (January 29, 2009) Emails Re: PFOAs (Not on Hazardous List. (2
pp)

271. DuPont (June 2010) Environmental Remediation Vision Meeting Slides. (27 pp)
272. NJDEP (September 9-13, 2013) Email String Re: PFNA/PFOA Briefing Summary. (9 pp)
273. (August 2015) Summary of Analytic Results. (1 p)

274. USEPA (February 16, 2015) Letter to Hartten, Chemours Re: Off-Site Plume Delineation
Work Plan. (2 pp)

275. USEPA (April 14, 2014) Certified Letter to Chemours Requesting Additional Off-Site PFC
Sampling. (2 pp)

276. USEPA, NJDEP, Chemours (December 15, 2015) Notes from Conference Call Re: Off-Site
Monitoring Wells. (2 pp)

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277. DuPont (August 4, 2009) Letter to NJDEP Re: PFOA Investigation Report Addendum. (2
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278. USEPA (December 21, 2015) Certified Letter to Hartten, Chemours Re: Delineation of
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279. NJDEP-USEPA (December 18, 2015) Internal Emails Re: Latest Off-Site Monitoring
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280. USEPA (July 1, 2015) Receipt acknowledgment Letter Re: PFC Plume Delineation. (2 pp)
281. NJDEP (March 10, 2015) Email String Re: Final Solvay PFC Letter. (3 pp)

282. Boettler, Albert DuPont (May 30, 2007) Certified Letter to Mir. Faranca NJDEP Site
Investigation Addendum for PFOA Investigation. (3 pp) .

283. Hartten, Andrew, DuPont (June 17, 2014) Letter to USEPA Re: April 14, 2014 Letter to
Request Additional Off-Site Sampling. (3 pp)

284. Hartten-Chemours/Tjho-USEPA (May 18, 2016) Emails with Final Draft QAPP Letter to
Resident. (2 pp)

285. NJDEP-DuPont (January 5, 2009-November 22, 2010) PFOA, Class Action and other
Emails with NJDEP. (126 pp)

286. Hartten, Andrew, DuPont (February 6, 2013) Final Work Plan Private Well Sampling 2-27-
09 Plan Complete. (3 pp)

287. LaReau-USEPA-Range-NJDEP (April 16, 2013) Email String Re: PFOA Status. (4 pp)

288. Faranca, Frank (February 23, 2009) PFOA 2009 Investigation Summary and Timeline. (2
pp)

289, Chemours (May 20, 2016) Submission to Mr. Tjho, USEPA, Re: f QA of Project Plan for
Chemours 2016 PFAs. (2 pp)

290. Hartten, Andrew, DuPont (April 16, 2013) Email String Request for Letter from NJDEP to
Access Property for Monitoring Wells. (4 pp)

291. Hamill, Barker, Asst. Director, NJDEP (October 27, 2007) Letter to Hon. Stephen Sweeney
Re: Detection of PFOAs in Groundwater and Tap Water at DuPont Chambers Works. (3

pp)

292. Hartten, Andrew, Chemours (March 30, 2016) Email to USEPA and NJDEP Re: Draft 2
Resampling Letter to Residents. (3 pp)

293. Post, Gloria (February 14, 2015) Email with PFHxA Article. (4 pp)

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294. Kropp, Irene, NJDEP (November 20, 2007) Letter to Ruth Ross, Citizen re: Concerns
about PFOA. ( 4pp)

295. Chemours-USEPA-NJDEP (December 16, 2015) Email Sting Re: Workplan for Expanded
Off-Site PFC Sampling. (4 pp)

296. (December 1, 2009) Private Drinking Well Sampling Update. (1 p)

297. Putman, Ed. NJDEP (September 14, 2006) Response to Susan Young Letter to Lisa
Jackson Re: PFOAs. (3 pp)

298. Irene Kropp, NJDEP (October 16, 2007) Letter to Resident Re: PFOAs. (4 pp)

299. Hartten, Chemours-Tjho, USEPA (December 11, 2015) Email String Workplan for
Expanded Off-Site PFC Sampling. (5 pp)

300. Hartten, Andrew DuPont (November 2, 2009) Letter to Mr. Faranca, NJDEP Re: NJDEP
Permit NJ0083429-PFOA Monitoring Program Groundwater Results Second Semester
2009. (4 pp)

301. Hartten, Andrew DuPont ( October 29, 2013) Letter to Mr. Faranca, NJDEP Re: NJDEP
Permit NJ0083429-PFOA Monitoring Program Groundwater Results Second Semester.
2013. (4 pp)

302. Hartter, Andrew, Chemours (June 7 & 8, 2016) Emails to USEPA with Chemours Private
Drinking Well Sampling Program (2016) Sample Letter. (5 pp)

303. Range, Linda, NJDEP (March 20, 2016) Email String to Mr. Tiho, USEPA Re: CBI Table. (5
pp)

304. Irene Kropp, NJDEP (October 27, 2007) Letter to Mark Stone Re: PFOAs. (7 pp)

305. Boettler, Albert, DuPont (June 6, 2008) Letter to Mr. Faranca, NJDEP Re: Update to April 17,
2008 Letter (Permit NJ 0083420) PFOA Monitoring Program Groundwater Results. (5 pp)

306. Hartten, Andrew, DuPont (April 22, 2013), Residential GAC System Results, MPI Research
Report: CWK-D-637HAWKSBRIDGERD (1Q 2013). (112 pp)

307. Engler, Rick, NJ Work Environmental Counsel (WEC) (July 10, 2007) Fax to Commissioner
Jackson Re; Request for EPA and NJDEP Investigation into PFOAs at DuPont's Plant in
Parlin, NJ. (7 pp)

308. (June 23, 2009) Letter to Residents in CWK 240 North GolfwoodAvenue Residential
Sampling Results. (38 pp)

309. Kropp, Irene, NJDEP (December 4, 2007) Response to November 27, 2016 Letter from
Ms. Thompson (4 pp)

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310. Faranca, Frank, EPA (January 15, 2009) PFOA Work Plan Additional Comments. (2 pp)

311. Hartten, Andrew, DuPont (July 16, 2014) DuPont Chambers Works Survey and
Sampling Program Residential GAC System PFOA Results -“C82Q14-
637HAWKSBRIDGERD”. (140pp)

312. NJDEP (May 1, 2015) RCRA Closure/Post Closure aka Corrective Action Program-
Summary of NJDES Permits. (5 pp)

313. NJDEP (2006, 2007) Miscellaneous Letters to Residents re: PFOA. (11 pp)

314. Hartten, Andrew, DuPont (January 1, 2011) DuPont Chambers Works Survey and
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315. MPI Research (Q 4 2009) Fluorochemical Characterization of Aqueous Samples
OS Private Well Sampling - 4Q09 MPI Research Laboratory Report No.
L0019506. (85 pp)

316. Hamill, Barker, Asst. Director, NJDEP (July 19, 2007) Detection of PFOAs in Groundwater
and Tap Water at DuPont Chambers Works and Newspaper Clippings DuPont/PFOA (7

pp)

317. DuPont (June 2, 2008) Letter to EPA with Updated PFOA Serum Sampling Results 1998-
2007. (13 pp)

318. URS (2014) Summary of Analytic Results. (13 pp)
319. Hartten, Andrew, DuPont (December 23, 2008), Private Drinking Water Well Survey and
Sampling Plan. (15 pp)
File 24 - AOC 17 Carneys Point

1. Zip-Folder 1 Carneys Point- 40 Acres (CoGen, PCB, SMWUs 13,19,37, 42, 43, 45:1-9, 46,47,
48:1-7, 49, 50, 52,53,54, 61

a. Corporate Remediation Group, DuPont (May 15, 2002) Phase I! 40 — Acre Parcel
Investigation Report for DuPont Carneys Point. (May 2002) (42 pp)

b. Boettler, Albert, DuPont Corporate Remediation Group (June 1, 2004) Certified Letter to Mr.
Parks, EPA and Mr. Faranca, NJDEP with Phase Ill 40 —- Acre Parcel Investigation
Report for DuPont Carneys Point. (June 2004) (170 pp)

2. Zip-Folder 2 Henby Cove

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a. Boettler, Albert, Corporate Remediation Group, DuPont (November 16, 2004) Letter with
URS Report Helms Cover Beach and Henby Creek Mitigation Areas -- 2004 Mitigation
Status Report.- SMWU 5 & 43 (November 2004) (36 pp)

b. Boettler, Albert, Corporate Remediation Group, DuPont (November 14, 2005) Letter re:Open
Wetland Mitigation Projects with URS Report Helms Cove Beach and Henby Creek
Mitigation Areas -- 2005 Mitigation Status Report.: Includes interim Stabilization
Measures for SMWU 5 & 43 (34pp)

c.URS Corporation (December 2008) Henby Creek Mitigation Area -- 2008 Mitigation Status
Report. (51 pp)

d. URS Corporation (November 2007) Helms Cove Beach Mitigation Area - 2007 Final
Mitigation Monitoring Report.: (49 pp)

e. URS Corporation (February 2010) Henby Creek Mitigation Area ~ 2009 Final Mitigation
Monitoring Report. (87 pp)

3. Zip-Folder 3 PCBs

a. Boettler, Albert, Corporate Remediation Group, DuPont (August 7, 2009) Certified Letter to
USEPA with URS Report T29 PCB Removal Work plan - August 2009 (978 pp)

b. Boettler, Albert, Corporate Remediation Group, DuPont (August 7, 2009) Certified Letter to
USEPA with URS Report T29 PCB Removal Work plan - August 2009 (1015 pp) (Cleanup)

c. Lutz, Edward, Corporate Remediation Group, DuPont (January 6, 2012) Certified Letter to
USEPA with URS Report T29 PCB Removal Summary Report- January 2012 (1015 pp)

4. Zip—Folder 4 SMWU 5

a. Boettler, Albert, Corporate Remediation Group, DuPont (January 28, 2002) Letter to Mr.
Faranca, NJDEP with Works Facility Solid Waste Management Unit (SMWU 52)
Investigative Report. (47 pp)

b. Boettler, Albert, Corporate Remediation Group, DuPont (September 5, 2002) Certified Letter
to Mr. Park, USEPA and Mr. Faranca, NJDEP Re: Response to the June 20, 2002
DuPont Chambers Works Facility Solid Waste Management Unit (SMWU 52) Remedial
Investigation Report to include 7pp letter with certifications, table, picture and map backup.

(35 pp)

c.Corporate Remediation Group, DuPont (January 15, 2004) SMWU 52 Review
Presentation.(27 pp)

d. Boettler, Albert, Corporate Remediation Group, DuPont (July 23, 2004) Certified Letter to Mr.
Faranca, NJDEP with SMWU 52 Remedial Action Selection Report. (355 pp)

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e.Boettler, Albert, Corporate Remediation Group, DuPont (June 28, 2005) Certified Letter to
Mr. Park, USEPA and Mr. Faranca, NJDEP with Solid Waste Management Unit
(SWMU) 52 ISM Additional Selection and Design Evaluation Addendum No. 1 to
SWMU 52 Selection Report (July 2004). (40 pp)

f. Boettler, Albert, Corporate Remediation Group, DuPont (November 4, 2005) Letter to Mr.
Park, USEPA Re: SMWU 82 Interim Stabilization Measure, Addendum 1. (29 pp)

g. Boettler, Albert, Corporate Remediation Group, DuPont (January 30, 2006) Certified Letter
to Mr. Park, USEPA and Mr. Faranca, NJDEP, USEPA with SMWU 52 Interim
Stabilization Measure Plan January 2006. (118 pp)

h. Boettler, Albert, Corporate Remediation Group, DuPont (March 15, 2007) Certified Letter to
Mr. Park, USEPA with SMWU 82 Interim Stabilization Measure (ISM) Report Plan
March 2007. (255 pp)

i. Boettler, Albert, Corporate Remediation Group, DuPont (January 30, 2006) Letter to Mr.
Park, USEPA and Mr. Faranca, NJDEP with Remedial Action Report (RAR) with
SMWU 52 Interim Stabilization Measure (ISM) Plan January 2006. (Data, Fresh Water
Permits, Photos). (207pp)

File 25 — AOC 18 Delaware River

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Corporate Remediation Group, DuPont (December 2005) Delaware River Groundwater to
Surface-Water Investigation Work Plan (26 pp)

Boettler, Albert, Corporate Remediation Group, DuPont (December 19, 2005) Letter to Mr.
Faranca, NJDEP with Delaware River Groundwater to Surface-Water Investigation Work Plan,
December 2005. (27 pp).

Boettler, Albert, Corporate Remediation Group, DuPont (December 4, 2008) Certified Letter to Mr.
Tornick, USEPA with Delaware River Groundwater to Surface-Water Investigation Report
December 2008, Final, Complete (1305 pp)

Norcross, Scott, URS Diamond (May 7, 2008) Delaware River Groundwater to Surface-Water
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Boettler, Albert, Corporate Remediation Group, DuPont (December 4, 2008) Certified Letter to Mr.
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December 2008... (490 pp)

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NJDEP with Supplemental Delaware River Groundwater to Surface-Water Investigation Plan.

(4 pp).

Boettler, Albert, Corporate Remediation Group, DuPont (May 22, 2009) Letter to Mr. Tjho, USEPA
and Mr. Faranca, NJDEP with 2009 Remedial Progress Update. (8pp)

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URS Corporation (July 2009) Delaware River Groundwater to Surface-Water Investigation
Work Plan July 2009. (107 pp)

Boettler, Albert, Corporate Remediation Group, DuPont (May 22, 2009) Certified Letter to Mr.
Tjho, USEPA and Mr. Faranca, NJDEP with Delaware River Groundwater to Surface-Water
Investigation Work Plan July 2009. (10 pp)

URS Corporation (October 13, 2010) Response Letter to Mr. Faranca, NJDEP Re: Delaware River
investigation-Requested Information (presentation, Phase | &Il Sediment Postings, On-site
Perimeter Well Locations, SMWU Sediment Data. (67 pp)

Lutz, Edward, DuPont (June 3, 2011) Certified Letter to Mr. Tjho, USEPA and Mr. Karpa,
NJDEP with Case Inventory Document (CID) and Delaware River Remedial Investigation
Report June 20011. (4870 pp)

File 26 —- AOC 19 Salem Canal (No Documents in Folder)

File 27 - AOC 20 Vapor intrusion

1. McManus, Cynthia, DuPont (April 23, 2009) Certified Letter to Mr. Faranca, NJDEP and 5
others Re: Public Notification N.J.A.C 7:26 E1.4 for Vapor Intrusion, Includes Posting,
Data, Contacts etc. (27 pp)

2. Lutz, Edward, DuPont (February 18, 2014) Letter to Ms. Range, NJDEP with URS Vapor
Intrusion Remedial Investigation Work Plan June 2014. Final (772 pp)

3. Lutz, Edward, DuPont (July 9, 2014) Letter to Ms. Range, NJDEP with Itemized Reponses to
NJDEP Comment Letter of March 24, 2014. Includes URS Vapor Intrusion Remedial
Investigation Work Plan June 2014. FINAL Revise July 2014 (1312 pp)

4. Lutz, Edward, DuPont (July 9, 2014) Letter to Ms. Range, NJDEP with Itemized Reponses to
NJDEP Comment Letter of March 24, 2014. Includes URS Vapor Intrusion Remedial
Investigation Work Plan June 2014. FINAL Revise (1312 pp)

5. Test America (January 10, 2014) QAPP Appendix E- Determination of VOCs in Ambient Air
Report. (31 pp)

6. Test America (February 4, 2013) QAPP Appendix F- Determination of VOCs in Ambient Air
Report. (125 pp)

7. Lutz, Edward, DuPont (July 9, 2014) Letter to Ms. Range, NJDEP with itemized Reponses to
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8. Lutz, Edward, DuPont (February 13, 2015) Letter to Ms. Range, NJDEP Re: Vapor Intrusion @
Technical Memorandum Phase II Including AECOM Tables and Figures. (17 pp)

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